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                                CASE NOS. 22-2220(L), 23-1096

                             IN THE UNITED STATES COURT OF
                            APPEALS FOR THE FOURTH CIRCUIT



                            DUKE ENERGY PROGRESS, LLC,
                                                   PETITIONER/INTERVENOR,
                                              V.

                        FEDERAL COMMUNICATIONS COMMISSION
                           AND UNITED STATES OF AMERICA,
                                                   RESPONDENTS,
                BELLSOUTH TELECOMMUNICATIONS, LLC, D/B/A AT&T
                 NORTH CAROLINA AND D/B/A AT&T SOUTH CAROLINA
                                                   INTERVENOR/PETITIONER.


                         On Petitions for Review of an Order of the
                          Federal Communications Commission



                    PAGE-PROOF OPENING BRIEF OF RESPONDENTS



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                                      INTRODUCTION

                  Pole attachment rates are charges that owners of utility

             poles, including electric utility companies, impose on companies

             that attach lines and other equipment to their poles. Congress has

             vested the Federal Communications Commission with the

             authority to “regulate the rates, terms, and conditions for pole

             attachments to provide that such rates, terms, and conditions are

             just and reasonable” and to “hear and resolve complaints

             concerning such rates, terms, and conditions.” 47 U.S.C.

             § 224(b)(1).

                  In the order on review, the Commission resolved a pole

             attachment complaint filed by AT&T, a telephone company,

             against Duke Energy Progress, an electric utility. AT&T and Duke

             are parties to a joint use agreement that contains the rates, terms,

             and conditions for each party’s use of the other’s utility poles in

             North Carolina and South Carolina.

                  Acting on authority delegated by the Commission, the FCC’s

             Enforcement Bureau decided that the pole attachment rate Duke

             was charging AT&T was unjust and unreasonable, because it was
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             higher than the rate Duke charges attaching cable providers as

             well as telecommunications carriers that, unlike AT&T, are not

             incumbent local exchange carriers (“ILECs”). But the Bureau also

             determined that, under AT&T’s agreement with Duke, AT&T had

             the right to attach its lines and equipment to Duke’s poles on terms

             that afforded AT&T material advantages over other entities with

             attachments on Duke’s poles. To account for those benefits, the

             Bureau determined that AT&T should pay a pole attachment rate

             that is lower than the rate in the joint use agreement but higher

             than the rate paid by other companies that attach their lines to

             Duke’s poles. It also ordered Duke to refund the difference between

             the rate in the joint use agreement and the Bureau-determined

             just and reasonable rate for the period covered by the three-year

             statute of limitations. The Commission on review upheld the

             Bureau’s decisions.

                  Duke and AT&T petition for review of the Order on separate

             grounds.

                  Duke asserts that the Commission lacks jurisdiction over the

             rates utilities charge ILECs. That argument is barred by principles



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             of issue preclusion. More than a decade ago, Duke’s corporate

             parent raised the same argument before the United States Court of

             Appeals for the District of Columbia Circuit, which squarely

             rejected it. Duke’s jurisdictional objection also fails on the merits:

             As the D.C. Circuit explained, the Commission reasonably

             interpreted the Act as authorizing it to regulate the pole

             attachment rates that ILECs pay utilities. The United States Court

             of Appeals for the Ninth Circuit agreed. There is no basis for

             revisiting those decisions here.

                  The Commission reasonably exercised its statutory authority

             in this case. The agency properly applied its regulations and

             precedent in deciding that the rates Duke charged AT&T were

             unjust and unreasonable. The single staff decision upon which

             Duke relies did not, under well-established precedent, bind the

             Commission. Moreover, the Order did not harm any reliance

             interest of Duke’s. During the period covered by the complaint,

             Duke had notice that it might have to issue a refund if an ILEC,

             like AT&T, established that Duke’s pole attachment rates were

             unjust and unreasonable.



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                   The Commission correctly required Duke, not AT&T, to

             assume the cost of the 40-inch safety space on Duke’s poles. For

             decades, the Commission has assigned the safety space to the

             electric utility, rather than entities with attachments on its poles,

             because it is the utility that needs that space to protect its electric

             lines, and the utility is the only entity that can make productive

             use of it.

                   The Commission reasonably determined that AT&T should

             pay a higher rate than other attachers (although not as high as

             that specified in the joint use agreement) because it enjoys

             material advantages that are not available to other attachers on

             Duke’s poles. Although AT&T interprets the evidence differently,

             the Commission’s decision was based on substantial evidence,

             including the terms in AT&T’s joint use agreement, not “ILEC

             traits.” Also, consistent with the Commission’s regulations and

             precedent, the Commission only compared contract terms, not

             other attachers’ statutory and regulatory rights. The Commission

             also reasonably permitted Duke to use different inputs in the




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             different formulas used to calculate the different rates paid by

             AT&T and other attachers on Duke’s poles.

                             JURISDICTIONAL STATEMENT

                  The Commission released the Order on November 18, 2022.

             BellSouth Telecommunications, LLC d/b/a AT&T North Carolina

             and d/b/a AT&T South Carolina v. Duke Energy Progress, LLC,

             2022 WL 17100973 (rel. Nov. 18, 2022) (Order) [_______] Duke filed

             a petition for review in this Court on November 28, 2022. AT&T

             filed a petition for review on January 17, 2023, in the United

             States Court of Appeals for the D.C. Circuit, which transferred

             AT&T’s case to this Court on January 26, 2023. The petitions were

             then consolidated. This Court has subject matter jurisdiction over

             the consolidated petitions under 28 U.S.C. § 2342(1) and 47 U.S.C.

             § 402(a). Venue is proper because Duke has its principal place of

             business in North Carolina.

                                   ISSUES PRESENTED

                  The following issues are raised by Duke’s petition for review:

                  Whether the Commission reasonably applied settled

             precedent affirming its authority under section 224 of the Act to




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             ensure just and reasonable pole attachment rates for incumbent

             local exchange carriers (“ILECs”) like AT&T?

                  Whether the Commission reasonably applied the correct legal

             standard in reviewing the pole attachment rates that Duke

             charged AT&T between September 1, 2017, and December 31,

             2019?

                  Whether the Commission reasonably applied settled

             precedent in determining that Duke may not charge AT&T for

             “safety space” on Duke’s poles in calculating AT&T’s just and

             reasonable pole attachment rate?

                  The following issues are raised by AT&T’s petition for review:

                  Whether the Commission reasonably determined that AT&T’s

             agreement with Duke provides it material advantages relative to

             other entities attaching to Duke’s electric poles, and to account for

             those benefits, AT&T should pay a higher just and reasonable pole

             attachment rate?

                  Whether the Commission reasonably permitted Duke to use

             different “numbers of attaching entities” in calculating the pole

             attachment rate paid by AT&T and the rate paid by other entities



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             attaching to Duke’s poles—which are derived from different rate

             formulas—because that number only has a significant effect on

             AT&T’s calculated rate.

                                  STATEMENT OF THE CASE
             I.   THE COMMISSION’S AUTHORITY TO
                  REGULATE POLE ATTACHMENTS

                  A. Section 224 of the Communications Act

                  Utility poles provide an often essential means for

             communications providers to deploy the lines, wires, and other

             network equipment they need to reach customers. Concerned that

             owners of utility poles—generally electric utilities—were abusing

             their market power by charging cable television providers

             “monopoly rents” to attach wires to their poles, see Nat’l Cable &

             Telecomms. Ass’n v. Gulf Power Co., 534 U.S. 327, 330 (2002),

             Congress in 1978 added section 224 to the Communications Act of

             1934, 47 U.S.C. § 224. That provision grants the Commission

             authority to “regulate the rates, terms, and conditions for pole

             attachments to provide that such rates, terms, and conditions are

             just and reasonable” and to “hear and resolve complaints

             concerning rates, terms, and conditions.” 47 U.S.C. § 224(b)(1). As



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             originally enacted, section 224 applied only to attachments by cable

             television system operators (“cable providers”).

                  Congress expanded the reach of section 224 in the

             Telecommunications Act of 1996, Pub. L. No. 104-104, 110 Stat. 56

             (the “1996 Act”). As amended, section 224 empowers the

             Commission (absent state regulation) to regulate the rates, terms,

             and conditions for “any attachment by a cable television system or

             provider of telecommunications services to a pole, duct, conduit, or

             right-of-way owned or controlled by a utility.” 47 U.S.C. § 224(a)(4)

             (defining “pole attachment”) (emphasis added).

                  Section 224, as amended, includes two separate rate formulas

             for setting pole attachment rates: One for rates paid by cable

             providers, 47 U.S.C. § 224(d), and another for rates paid by

             telecommunications carriers, 47 U.S.C. § 224(e).

                  B. The 2011 Order

                  As initially implemented by the Commission, the rate paid by

             telecommunications carriers (hereafter, the Old Telecom Rate) was

             almost always higher than the rate paid by cable providers (the

             Cable Rate). See Implementation of Section 224 of the Act, 26 FCC



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             Rcd 5240, 5297, ¶ 131 (2011) (2011 Order), aff’d, Am. Electric

             Power Serv. Corp. v. FCC, 708 F.3d 183 (D.C. Cir. 2013), cert.

             denied, 571 U.S. 940. The discrepancy between the two rates

             largely stemmed from the different ways that the two statutory

             formulas “allocate the costs associated with the unusable portion of

             the pole”—i.e., the space on the pole that “cannot be used for

             attachments.” 2011 Order, 26 FCC Rcd at 5297, ¶ 131 n.397.

             Whereas the cable rate formula allocates such costs “based on the

             fraction of the usable space that an attachment occupies,” see 47

             U.S.C. § 224(d)(1), the telecom rate formula apportions the cost of

             the unusable space among the attachers on the pole, 47 U.S.C.

             § 224(e). Id.

                   Concerned that this rate disparity created “marketplace

             distortions and barriers to the availability of new broadband

             facilities and services,” 2011 Order, 26 FCC Rcd at 5305, ¶ 151, the

             Commission in 2011 adopted a New Telecom Rate formula that

             lowered the telecom rate so that it would generally “recover the

             same portion of pole costs as the current cable rate.” Id. at 5244,

             ¶ 8. To achieve that result, the Commission reinterpreted the term



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             “cost” in section 224(e)(2) by defining the “cost” for an urban-area

             pole as 66 percent of the pole’s fully allocated costs, and for a non-

             urban-area pole as 44 percent of the pole’s fully allocated costs.

             2011 Order, 26 FCC Rcd at 5304, ¶ 149. On reconsideration, the

             Commission made further adjustments to its telecom rate rule “to

             bring cable and telecom rates for pole attachments into parity at

             the cable-rate level.” Implementation of Section 224 of the Act, 30

             FCC Rcd 13731, 13738, ¶ 16 (2015 Order), aff’d, Ameren Corp. v.

             FCC, 865 F.3d 1009 (8th Cir. 2017).

                  In its initial implementation of section 224, the Commission

             had determined that ILECs—as defined in 47 U.S.C. § 251(h)(1)—

             have “no rights under Section 224 with respect to the poles of

             [electric] utilities.” Implementation of Section 703(e) of the

             Telecommunications Act of 1996, 13 FCC Rcd 6777, 6781, ¶ 5

             (1998) (1998 Order). It based that conclusion on section 224(a)(5),

             which provides that “[f]or purposes of this section, the term

             ‘telecommunications carrier’…does not include any [ILEC].” 47

             U.S.C. § 224(a)(5). However, in 2011, the Commission reconsidered

             its reading of the statute, finding that although ILECs are not



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             among the “telecommunications carriers” that have a right of

             access to utilities poles pursuant to section 224(f)(1), 47 U.S.C.

             § 224(f)(1),1 ILECs that obtain such access are entitled to rates,

             terms, and conditions that are “just and reasonable” in accordance

             with section 224(b)(1). 2011 Order, 26 FCC Rcd at 5327-33, ¶¶ 199-

             213.

                    The Commission based its revised reading on the statute’s

             definition of “pole attachment,” which includes “any attachment”

             by a “provider of telecommunications service.” 47 U.S.C.

             § 224(a)(4). The Commission determined that the phrase “provider

             of telecommunication service” was “distinct from

             ‘telecommunications carrier’ for purposes of section 224.” 2011

             Order, 26 FCC Rcd at 5332, ¶ 210. It reasoned that because ILECs

             “are ‘providers of telecommunications service,’ ‘pole attachment’ as




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                Section 224(f)(1) requires a utility to “provide a cable television
             system or any telecommunications carrier with nondiscriminatory
             access to any pole, duct, conduit, or right-of-way owned or
             controlled by” the utility. 47 U.S.C. § 224(f)(1). The
             telecommunications carriers that have a statutory right of access
             under section 224(f)(1) are commonly referred to as competitive
             local exchange carriers, or CLECs.


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             defined in section 224(a)(4) includes attachments of [ILECs].” Id. at

             5332, ¶ 211. And because section 224(b) requires the Commission

             to “regulate the rates, terms, and conditions for pole attachments,”

             47 U.S.C. § 224(b)(1), the Commission found that under its revised

             reading of the definition of “pole attachment,” it “has a statutory

             obligation to regulate” the rates, terms, and conditions for ILECs’

             attachments to utilities’ poles. 2011 Order, 26 FCC Rcd at 5332,

             ¶ 211.

                  However, the Commission “recognize[d] the need to exercise

             that authority in a manner that accounts for the potential

             differences between [ILECs] and [CLECs] or cable operator

             attachers.” 2011 Order, 26 FCC Rcd at 5333, ¶ 214. It observed

             that ILECs (like utilities) are pole owners, and they frequently

             obtain access to electric utility poles through “joint use”

             agreements. Id. Such agreements typically are structured as cost-

             sharing arrangements, and they often provide ILECs benefits that

             are not found in agreements between utilities and other attachers.

             Id. With that recognition, the Commission provided guidance on its

             approach to handling pole attachment complaints by ILECs. Id.



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                  To start, the Commission distinguished “existing” and “new”

             pole attachment agreements between ILECs and utilities. The

             Commission observed that existing agreements (i.e., those

             negotiated before the 2011 Order) had generally been entered into

             when ILECs “were in a more balanced negotiating position with

             electric utilities, at least based on relative pole ownership.” Id. at

             5335, ¶ 216. For that reason, the Commission explained that it

             would be “unlikely to find the rates, terms, and conditions in

             existing joint use agreements unjust or unreasonable.” Id.

             Nonetheless, “[t]o the extent that an [ILEC] can demonstrate that

             it genuinely lacks the ability to terminate an existing agreement

             and obtain a new agreement,” the Commission determined that it

             could “consider that” evidence in a pole attachment complaint

             proceeding. Id.

                  With respect to new agreements (i.e., those entered into after

             the 2011 Order), the Commission determined that where ILECs

             attach to a utility’s poles on terms and conditions that are

             “comparable” to those provided to other attachers on the utility’s

             poles, “competitive neutrality counsels in favor of affording [ILECs]



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             the same rate” as those other attachers—i.e., the New Telecom

             Rate. Id. at 5336, ¶ 217. In those circumstances, the Commission

             placed “the burden” on ILECs to show that they were “similarly

             situated” to other attachers and were therefore entitled to

             “comparable” rates, terms, and conditions. See 47 C.F.R. § 1.1424

             (2011).

                  However, the Commission determined that an ILEC should

             pay a “different rate” if the record shows that a new agreement

             “materially advantages” the ILEC relative to other attachers, 2011

             Order, 26 FCC Rcd at 5336, ¶ 218. In that circumstance, the

             Commission decided to use the Old Telecom Rate as a “reference

             point.” Id. at 5337. It reasoned that the Old Telecom Rate—which

             is higher than the New Telecom Rate—“helps account for” the

             advantages provided to ILECs relative to other attachers. Id. Using

             that “specific rate” as a reference point also would “better inform[]

             pole attachment negotiations,” “reduce the number of disputes”

             brought to the Commission, and be “more administrable” than

             “develop[ing]…an entirely new rate.” Id.




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                  Several electric utilities, including Duke’s corporate parent

             (Duke Energy Corporation), challenged the 2011 Order in the U.S

             Court of Appeals for the D.C. Circuit. On review, that court held

             that the Commission reasonably construed the statute to authorize

             FCC regulation of ILEC pole attachments. American Electric

             Power, 708 F.3d at 186-88. The court found “an entirely intentional

             character” in section 224(a)(4)’s use of the broader term “provider

             of telecommunications services” and the “restricted definition of

             telecommunications carrier” in section 224(a)(5), 708 F.3d at 187,

             and on that basis, it concluded that the Commission reasonably

             determined that its authority to “regulate the rates, terms, and

             conditions for pole attachments” encompassed attachments by

             ILECs. Id. at 186-88.

                  C. The 2018 Order

                  In 2018, the Commission reconsidered its earlier presumption

             that ILECs, as pole owners, are different from other attachers.

             Citing evidence showing that “[ILEC] pole ownership has declined

             and [ILEC] pole attachment rates have increased (while pole

             attachment rates for cable and telecommunications attachers have



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             decreased),” the Commission determined that “[ILEC] bargaining

             power vis-à-vis utilities had eroded since 2011.” Accelerating

             Wireline Broadband Deployment by Removing Barriers to

             Infrastructure Investment, 33 FCC Rcd 7705, 7769, ¶ 125 (2018)

             (2018 Order). In response to “these changed circumstances,” the

             Commission adopted a rebuttable presumption that, “for new and

             newly-renewed pole attachment agreements” between ILECs and

             utilities, ILECs are “similarly situated” to “telecommunications

             attachers” and thus are entitled to “comparable” rates that are no

             higher than the New Telecom Rate. Id.

                  At the same time, the Commission acknowledged that “there

             may be some cases” in which ILECs “continue to possess greater

             bargaining power than other attachers.” Id. In those instances, a

             utility “can rebut” the new presumption “with clear and convincing

             evidence that [an ILEC] receives net benefits under its pole

             attachment agreement with the utility that materially advantage

             the [ILEC] over other telecommunications attachers.” Id. at 7768,

             ¶ 123; see also 47 C.F.R. § 1.1413(b).




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                  If the presumption is rebutted, the utility and the ILEC may

             “negotiate the appropriate rate or tradeoffs to account for” any

             “additional benefits” that differentiate the ILEC from other

             attachers. 2018 Order, 33 FCC Rcd at 7771, ¶ 128. In that case, the

             Old Telecom Rate “is the maximum rate that the utility and the

             [ILEC] may negotiate.” Id. at 7771, ¶ 129. The Commission made

             this rate a hard cap to “provide further certainty within the pole

             attachment marketplace” and “limit pole attachment litigation.” Id.

                  Recognizing that the new presumption “will impact privately-

             negotiated agreements,” the Commission decided that it “will only

             apply, as it relates to existing contracts, upon renewal of those

             agreements.” Id. at 7770, ¶ 127. The Commission thus determined

             that the Old Telecom Rate will continue to serve as a reference

             point in those circumstances where a pole attachment agreement

             entered into before the effective date of the 2018 Order (March 11,

             2019) “materially advantages” an ILEC over other attachers. Id. at

             7770, n.478.

                  The Ninth Circuit Court of Appeals rejected challenges to the

             2018 Order by several utilities, including Duke’s parent company.



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             City of Portland v. United States, 969 F.3d 1020, 1052-53 (9th Cir.

             2020), cert denied, ____ U.S. ____, 141 S. Ct. 2855, 210 L.Ed.2d 962

             (2021). That court upheld the Commission’s authority under

             section 224(b)(1) of the Act to ensure just and reasonable rates for

             ILECs, observing that “[t]he FCC has interpreted section 224(b)(1)

             this way since 2011, and the D.C. Circuit upheld this

             interpretation some years ago.” Id. It then found that the

             Commission “provided an adequate justification for setting the

             same presumptive rates for all telecommunications providers,”

             noting record evidence showing continuing “rate disparities

             between ILECs and CLECs” and the disappearance of the “historic

             differences between” those carriers “that supported different rates.”

             Id. at 1052, 1053.

             II.   THE PROCEEDINGS BELOW

                   BellSouth Telecommunications, LLC d/b/a AT&T North

             Carolina and AT&T South Carolina (collectively AT&T), an ILEC,

             and Duke Energy Progress, an electric utility, are parties to a joint

             use agreement executed in 2000, with an effective date of January

             1, 2001. [Bureau Order n.6]. That agreement contains the rates,



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             terms, and conditions for each party’s use of the other’s utility

             poles. [Bureau Order n.7].

                  The agreement sets forth the methodology for calculating

             each party’s rate for attachments on either party’s joint use poles.

             It compares the amounts due from each party, and then Duke—

             which owns more poles than AT&T—issues a bill to AT&T for the

             net rental amount that AT&T owes Duke. [Bureau Order ¶5].

                  Under the agreement, Duke charges AT&T much higher

             rates than it charges cable providers and CLECs for attachments

             on the same poles. The record showed that between 2017 and 2019,

             Duke charged AT&T between [redacted] per pole while charging

             CLECs and cable companies between [redacted] per pole. As a

             result, AT&T pays [redacted] more than other entities with

             attachments on the same pole under the joint use agreement.

             [Bureau Order ¶6].

                  On September 1, 2020, AT&T filed a complaint with the

             Commission against Duke, alleging that the rates that it pays for

             use of Duke’s poles are unjust and unreasonable within the

             meaning of section 224 of the Act and the Commission’s rules and



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             orders. [Complaint]. AT&T asked the Commission to require Duke

             to reduce its pole attachment rate to the New Telecom Rate, and

             order Duke to refund any amounts it had collected in excess of that

             rate, consistent with the applicable statute of limitations.

             [Complaint at 27-28, 39-42].

                  A. The Bureau Order

                  The Enforcement Bureau, acting on authority delegated by

             the Commission, issued an Order on September 21, 2021, to

             “resolve several issues disputed by” AT&T and Duke. [Bureau

             Order ¶1].

                  The Bureau determined that for the period starting on

             January 1, 2020, the 2018 Order supplied the standard for

             reviewing the parties’ joint use agreement. January 1, 2020, was

             the date that the joint use agreement “automatically renewed” for

             the first time after the effective date of the regulations amended by

             the 2018 Order, which was March 11, 2019. [Bureau Order ¶9].

                  The Bureau determined, however, that while AT&T was

             entitled to relief under the 2018 Order, Duke had rebutted the

             presumption that AT&T is “similarly situated” to other attachers



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             on Duke’s poles by showing that the parties’ joint use agreement

             provides AT&T with a number of “material[] advantages,” which

             the Bureau proceeded to describe in detail. [Bureau Order ¶¶15-

             35]; 47 C.F.R. § 1.1413.

                     Guaranteed Pole Access. The Bureau first found that the joint

             use agreement requires Duke to reserve and maintain space for

             AT&T on all joint use poles, including any that are newly erected

             or newly acquired, so long as those attachments comply with

             generally applicable safety standards and engineering practices

             and do not “unreasonably interfere” with Duke’s use of a pole.

             [Bureau Order ¶¶17-18]. Other entities with attachments on

             Duke’s poles do not enjoy a similar space guarantee. [Bureau Order

             ¶17].

                     Ability to Use Additional Space on Poles. The joint use

             agreement also generally allows Duke and AT&T to use an

             unspecified amount of space on each other’s poles—an

             arrangement that is not provided to other attachers. [Bureau Order

             ¶20].




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                  No Requirement to Remove Attachments on Termination. The

             agreement provides that even if terminated, it remains in force

             with respect to AT&T’s existing attachments on all poles jointly

             used by the parties. As a result, Duke cannot force AT&T to

             remove its attachments from Duke’s poles. In contrast, other

             attachers are required to remove all of their lines and equipment

             upon termination of their pole attachment agreements with Duke.

             [Bureau Order ¶21].

                  Predictable Billing for Pole Replacements. The agreement

             provides that if Duke replaces a pole for AT&T, AT&T will pay a

             “scheduled cost” set forth in the agreement. By contrast, when

             Duke replaces a pole for a cable provider or a CLEC, it charges

             them the “‘actual, work order costs.” [Bureau Order ¶24]. Without

             passing on Duke’s claim that AT&T thus enjoys a “cost advantage,”

             [Bureau Order ¶26], the Bureau found that because of the

             agreement’s “list of scheduled pole replacement costs,” AT&T does

             not “need to wait for an estimate or invoice to learn the cost of each

             pole replacement job,” which provides it a “budgeting and planning




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             advantage over its competitors, whose licensing agreements do not

             contain scheduled costs.” [Bureau Order ¶27].

                  No Additional Permitting Fees or Requirements. Unlike other

             attachers, AT&T is not required under the agreement to obtain

             Duke’s approval, or pay a permitting fee, when it attaches its lines

             to Duke’s poles. [Bureau Order ¶28].

                  Lowest Position on Poles. Finally, the Bureau noted, AT&T’s

             lines currently occupy the lowest position on Duke’s poles, and the

             joint use agreement gives AT&T the right to maintain its existing

             attachments in that position. [Bureau Order ¶31]. The Bureau thus

             found that AT&T, unlike its competitors, had the right to choose its

             location, which “benefitted AT&T by providing a consistent and

             predictable space on each pole.” [Bureau Order ¶33].

                  Given the “variety of unique benefits that materially

             advantage AT&T over” other attachers on Duke’s poles, the Bureau

             concluded that AT&T was entitled to a rate no greater than the Old

             Telecom Rate for the timeframe covered by the 2018 Order.

             [Bureau Order ¶35].




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                     The Bureau separately determined that the 2011 Order

             “provides the relevant standard for reviewing the [joint use

             agreement] rates” prior to January 1, 2020. [Bureau Order ¶36].

             Finding that “AT&T ha[d] demonstrated that it ‘genuinely lacks

             the ability to terminate the joint use agreement and obtain a new

             agreement,’” the Bureau concluded that the agreement is subject to

             review under the 2011 Order. [Bureau Order ¶37] (quoting 2011

             Order, 26 FCC Rcd at 5336, ¶ 216); [Bureau Order ¶40].

                     The Bureau, however, denied AT&T’s request to pay a rate

             not to exceed the New Telecom Rate. The Bureau pointed out that

             it had just found that AT&T receives “material advantages that are

             not afforded to” other attachers “on the same poles.” [Bureau Order

             ¶41]. On that basis, it “conclude[d] that AT&T has not

             demonstrated that it is similarly situated to such other attachers”

             and “thus is not entitled to the New Telecom Rate.” [Bureau Order

             ¶41].

                     Nonetheless, the Bureau determined that the benefits that

             AT&T receives “do not justify the [joint use agreement] rates.”

             [Bureau Order ¶42]. “In particular,” the Bureau found that “the



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             rate AT&T pays Duke under the [joint use agreement] is

             disproportionate to the amount of space each uses on a pole,” and

             that “AT&T pays far more than Duke on a per-foot basis.” [Bureau

             Order ¶42]. The Bureau was unpersuaded by Duke’s attempt to

             show that the rates it charged AT&T are justified by AT&T’s

             “advantages” under the agreement. [Bureau Order ¶43]. Though

             Duke “attempt[ed] to calculate the monetary value” of those

             benefits, the Bureau concluded that Duke’s “calculations [were]

             speculative and unsupported by reliable evidence.” [Bureau Order

             ¶43]. Because neither AT&T nor Duke had “provided a credible

             valuation of the advantages that AT&T receives under the [joint

             use agreement],” the Bureau decided that prior to January 1, 2020,

             AT&T was “entitled to a rate” not to exceed the Old Telecom Rate.

             [Bureau Order ¶47].

                  The Bureau also resolved disputes about how to calculate the

             Old Telecom Rate. First, it rejected Duke’s attempt to allocate more

             space on a pole to AT&T than the Commission’s rules allow. The

             Commission’s rules presume that a telecommunications or cable

             pole attachment “occupies” one foot of space on a utility pole.



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             [Bureau Order ¶¶49-51]; see 47 C.F.R. § 1.1410. The Bureau thus

             found that Duke erred in allocating the 40-inch “safety space” on a

             utility pole to AT&T. Because “AT&T’s attachments do not occupy

             the safety space,” the Commission explained, “Duke may not

             charge AT&T for that space.” [Bureau Order ¶51].

                  Second, the Bureau found that Duke had rebutted the

             presumptions in the Commission’s rules about the number of

             attachers on a pole (i.e., five attachers in urban areas and three

             attachers in rural areas). [Bureau Order ¶53]; see 47 C.F.R.

             § 1.1409(c). (The average number of attachers on a pole is an input

             into the Old Telecom Rate formula, see 47 C.F.R. § 1.1409(c).)

                  In line with these determinations, the Bureau directed AT&T

             and Duke to “negotiate a new reciprocal joint use agreement” that

             is “consistent with” its decision that AT&T is entitled to a rate that

             “may equal but not exceed the Old Telecom Rate.” [Bureau Order

             ¶64]. It further held that AT&T is “entitled to a refund and interest

             extending for a period of three years prior to the filing of the

             Complaint,” and it directed the parties “to negotiate in good




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             faith…the amount of AT&T’s refund consistent with” its rulings.

             [Bureau Order ¶64].

                  B. The Order on Review

                  AT&T filed an application for review of the Bureau Order

             with the Commission, and Duke filed a petition for reconsideration

             with the Bureau. The Commission consolidated both. On review, it

             denied Duke’s petition in its entirety, and denied AT&T’s petition

             on the merits but granted a request for clarification included in its

             application. [Order ¶1].

                        1. Duke’s Issues

                  The Commission rejected Duke’s challenges to the Bureau’s

             determination that the pole attachment rate AT&T paid Duke was

             not just and reasonable.

                  First, the Commission affirmed the Bureau’s determination

             that AT&T was entitled to relief under the 2011 Order for the

             period prior to January 1, 2020. [Order ¶¶17, 20]. It agreed with

             the Bureau that the rate AT&T paid Duke was unjust and

             unreasonable because it was (1) higher than the Old and New

             Telecom Rates; (2) higher than the rates AT&T charges CLECs and

             cable operators to attach to its poles; and (3) disproportionate to

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             the amount of space AT&T and Duke each uses on the poles.

             [Order ¶24].

                   Second, the Commission agreed with the Bureau that AT&T

             was not required to calculate the value of its benefits under the

             joint use agreement in order to establish that the pole attachment

             rate it paid Duke was unjust and unreasonable. [Order ¶25]. In

             doing so, the Commission “reject[ed]” the Bureau’s earlier decision

             in Verizon Florida LLC v. Florida Power and Light Company, 30

             FCC Rcd 1140 (EB 2015) (Verizon Florida) “to the extent that” it

             could “be read to require a party in a pole attachment complaint

             proceeding…to quantify the value of individual benefits an [ILEC]

             receives under a joint use agreement,” finding such an

             ‘“interpretation…impracticable, especially in the absence of any

             rules prescribing a methodology for valuing such benefits.’” [Order

             ¶25] (quoting Verizon Maryland LLC v. The Potomac Edison Co.,

             2022 WL 990572, ¶ 14 (2022) (Verizon Maryland Reconsideration

             Order)).

                  Third, the Commission affirmed the Bureau’s determination

             that AT&T’s rate should not exceed the Old Telecom Rate. The



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             Commission rejected Duke’s assertion that under the 2011 Order,

             the Old Telecom Rate is only a “reference point” for rates in new

             agreements. [Order ¶27]. The Commission explained that it

             already looked to the Old Telecom Rate for guidance in setting a

             “just and reasonable” rate for an ILEC with an existing joint use

             agreement because that rate accounts for any material advantages

             afforded to ILECs. [Order ¶27]. It also noted the benefits of using

             the Old Telecom Rate as a “reference point,” including that it is

             more “administrable” to use that rate than to set a new rate in

             each complaint case. [Order ¶28].

                   Fourth, the Commission upheld the Bureau’s determination

             that in calculating the Old Telecom Rate, Duke may not charge

             AT&T the cost of the safety space on Duke’s poles. The Commission

             explained that it “has held” for decades “that ‘the safety space is

             effectively usable space occupied by’ the electric lines” because that

             space “‘would otherwise be usable space’ but for the presence of”

             those lines. [Order ¶42] (quoting Amendment of Rules and Policies

             Governing Pole Attachments, 15 FCC Rcd 6453, 6468, ¶ 22 (2000)

             (2000 Fee Order)).



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                        2. AT&T’s Issues

                  The Commission also was unpersuaded by AT&T’s argument

             that the Bureau erred in finding that, because AT&T is not

             similarly situated to other attachers on Duke’s poles, AT&T’s rate

             should not be capped at the New Telecom Rate.

                  To start, the Commission rejected AT&T’s argument that the

             Bureau should have considered the statutory and regulatory rights

             that other attachers have to access utility poles. The Commission

             explained that, in making the comparison between AT&T and

             other attachers, it is proper to examine the parties’ contract terms.

             [Order ¶48].

                  Next, the Commission upheld the Bureau’s determination

             that AT&T’s joint use agreement with Duke provides AT&T five

             material advantages that are not available to other attachers on

             Duke’s poles. [Order ¶¶46-54].

                  First, the Commission agreed with the Bureau that AT&T’s

             contract right to access Duke’s poles is superior to those of other

             attachers, because Duke cannot deny AT&T access to its poles

             when it can deny access to other attachers. [Order ¶¶47-48].



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                  Second, the Commission affirmed the Bureau’s determination

             that AT&T was advantaged by its right to use more space on

             Duke’s poles without paying more money. It pointed out that even

             if other attachers have an unlimited right to space on a pole, as

             AT&T contended, those attachers have to pay for more than one

             foot of space, whereas AT&T does not. [Order ¶50].

                  Third, the Commission rejected AT&T’s argument that there

             was no evidence in the record that its scheduled cost to replace a

             pole is greater than the actual cost paid by other attachers. The

             Commission pointed out that while the Bureau “made no finding on

             the dollar difference,” it properly determined that the cost schedule

             in the joint use agreement provided AT&T a “budgeting and

             planning advantage.” [Order ¶51].

                  Fourth, the Commission upheld the Bureau’s determination

             that AT&T’s ability to place attachments on Duke’s poles without

             filing an application or paying a fee benefitted AT&T. The

             Commission reasoned that even if AT&T and other attachers have

             to compile the same information for their records, AT&T still has

             free and immediate access to Duke’s poles. [Order ¶52].



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                  Fifth, the Commission was not persuaded by AT&T’s

             argument that its position as the lowest attacher was

             disadvantageous, pointing out that “AT&T never sought to

             abandon” that location. [Order ¶53]. It also agreed with the Bureau

             that AT&T’s claim that its attachments faced a greater risk of

             vandalism and other damage were “‘mostly unsupported’ by

             evidence.” [Order ¶53] (quoting [Bureau Order ¶33 & n.103]).

                  The Commission separately denied AT&T’s request that it

             overrule the Bureau’s decision to permit Duke to use different

             “number of attachers” inputs in calculating the Old Telecom Rate

             paid by AT&T and the New Telecom Rate paid by other attachers

             on Duke’s poles. The Commission determined that because the

             “number of attachers” has no effect on the New Telecom Rate,

             Duke reasonably relied on the presumptive number of attachers in

             the Commission’s regulations in calculating that rate. By making

             that choice, the Commission explained, Duke did not forfeit its

             right to rebut that number in calculating the Old Telecom Rate,

             where that input has a “significant effect.” [Order ¶55].




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                                    SUMMARY OF ARGUMENT

                  The Commission in the Order carefully balanced the interests

             of the parties to ensure that AT&T pays a just and reasonable rate

             that compensates Duke for the pole attachment terms it provides

             AT&T while at the same time treating all attachers on Duke’s

             poles fairly. The Commission’s determinations are faithful to the

             Act and to the agency’s precedent and regulations, are supported

             by substantial evidence, and are reasonable. The Court should

             deny both petitions for review.

                      A. Duke’s arguments have been waived and otherwise lack

             merit.

                  1. Duke’s challenge to the Commission’s authority to regulate

             ILEC pole attachments is barred by the doctrine of issue

             preclusion. Duke’s parent corporation raised (unsuccessfully)

             precisely the same issue in American Electric Power, 708 F.3d at

             186-88. Duke is barred from relitigating the same issue in light of

             its corporate parent’s failure to prevail in that earlier case.

                  Duke’s challenge in any event fails even if the Court were to

             reach its merits. Section 224(b)(1), of the Act, 47 U.S.C. § 224(b)(1),



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             provides that “the Commission shall regulate the rates, terms, and

             conditions for pole attachments,” and a “pole attachment” is “any

             attachment by a cable television system or provider of

             telecommunications service to a pole…owned or controlled by a

             utility,” 47 U.S.C. § 224(a)(4). More than a decade ago, the

             Commission concluded that under section 224(b)(1), it may

             regulate the rates that ILECs pay for pole attachments, because

             ILECs are “provider[s] of telecommunications service.” 2011 Order,

             26 FCC Rcd at 5328-33, ¶¶ 204-212. The D.C. Circuit upheld the

             Commission’s reasonable interpretation of the Act, and the Ninth

             Circuit agreed. See American Electric Power, 708 F.3d at 186-88;

             City of Portland, 969 F.3d at 1052-53.

                  2. Duke contends that the Commission cannot interpret the

             Act to provide it jurisdiction over the rates that utilities charge

             ILECs because the Act does not also provide it jurisdiction over the

             rates that ILECs charge utilities. That argument is not before the

             Court because Duke did not first raise it before the Commission. 47

             U.S.C. § 405(a). Regardless, it lacks merit. The Commission takes

             account of the pole attachment rates that ILECs charge utilities in



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             determining whether the rates that ILECs pay are just and

             reasonable. The Commission here reasonably determined that once

             the parties negotiated a new just and reasonable rate for AT&T

             with the guidance provided in the Order, they could negotiate a

             proportional decrease in the rate AT&T charges Duke.

                  3. Relying on a Bureau decision (Verizon Florida), Duke

             contends that the Commission applied a new legal standard in

             upholding the Bureau’s analysis of AT&T’s pole attachment

             complaint. But it is well-established that staff decisions do not bind

             the Commission. Accordingly, the Commission did not apply a new

             standard when it declined to follow the Bureau’s reasoning. In any

             event, the Commission explained why it would not take the same

             approach as the Bureau had, which is all that the law would have

             required even if the Commission had previously adopted the

             Bureau’s position.

                  Finally, whether or not Verizon Florida established a new

             standard, no manifest injustice results from ordering Duke to pay

             AT&T a refund. Duke has been on notice since 2011 that it could be




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             liable for a refund if the Commission found, as here, that the rates

             it charges an ILEC like AT&T are unjust and unreasonable.

                  4. The Court should decline Duke’s request to overturn

             settled precedent assigning the safety space on utility poles to

             utilities, not attachers, in calculating pole attachment rates. More

             than 20 years ago, the Commission determined that the safety

             space on a utility pole is “used and usable” by a utility, and for that

             reason, the utility should assume the cost of that space. The

             Bureau’s assignment of the safety space to Duke in this case

             followed that longstanding determination, which is supported by

             the record.

                  B. AT&T’s arguments also lack merit.

                  1. The Commission reasonably concluded that AT&T was not

             similarly situated to other attachers on Duke’s poles based on

             express terms of the joint use agreement that AT&T negotiated

             with Duke, not on any “immutable ILEC traits.” The Bureau

             identified five terms in the agreement that materially advantaged

             AT&T. Because of those material advantages, the Commission

             correctly found that AT&T must pay the Old Telecom Rate, since



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             that rate accounts for the benefits its agreement with Duke

             afforded AT&T.

                  2. The Commission properly upheld the Bureau’s analysis,

             which compared the terms in AT&T’s joint use agreement to the

             terms in Duke’s pole attachment agreements with other attachers

             on Duke’s poles. Though AT&T would prefer for the Commission

             also to consider cable providers’ and CLECs’ statutory and

             regulatory rights—notably, their right to attach to utility poles in

             section 224(f)(1) of the Act—nothing in the Commission’s

             regulations or precedent requires that comparison.

                  3. The Commission reasonably permitted Duke to use a

             different “number of attachers” in calculating the Old Telecom Rate

             paid by AT&T and the New Telecom Rate paid by other entities

             with attachments on Duke’s poles. Because the “number of

             attachers” has no effect on the New Telecom Rate, the Commission

             permitted Duke to use the presumptive number of attachers set

             forth in the Commission’s regulations in calculating that rate. But

             it also agreed with the Bureau that Duke did not have to use the

             same presumptive numbers in the Old Telecom Rate formula,



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             where the number of attachers does have a significant effect on the

             calculated rate. Nothing in the Commission’s regulations or

             precedent requires a utility to use the same presumption in

             different rate formulas.

                                  STANDARD OF REVIEW

                  Under the Administrative Procedure Act, “a court will set

             aside an agency action if it is ‘arbitrary, capricious, an abuse of

             discretion, or otherwise not in accordance with law,’” Ohio Valley

             Envtl. Coal., Inc. v. U.S. Army Corps of Eng’rs, 828 F.3d 316, 321

             (4th Cir. 2016) (quoting 5 U.S.C. § 706(2)(A)), or if the action is

             “unsupported by substantial evidence,” 5 U.S.C. § 706(2)(E).

                  “[R]eview under this standard is highly deferential, with a

             presumption in favor of finding the agency action valid.” King v.

             Burwell, 759 F.3d 358, 373 (4th Cir. 2014) (cleaned up), aff’d, 576

             U.S. 473 (2015). “Deference is due where the agency has examined

             the relevant data and provided an explanation of its decision that

             includes a rational connection between the facts found and the

             choice made.” Ohio Valley, 828 F.3d at 321 (cleaned up). And

             deference to the Commission’s “expert policy judgment” is



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             especially appropriate where the “subject matter…is technical,

             complex, and dynamic.” Nat’l Cable & Telecomms. Ass’n v. Brand X

             Internet Svcs., 545 U.S. 967, 1002-03 (2005) (cleaned up).

                  The Commission’s interpretation of section 224 of the Act “is

             entitled to deferential review under Chevron USA, Inc. v. Natural

             Resources Defense Council, 467 U.S. 837 (1984).” Montgomery Cnty,

             Md. v. FCC, 811 F.3d 121, 129 (4th Cir. 2015). Of course, if

             “Congress has directly spoken to the precise question at issue,” the

             Court “must give effect to the unambiguously expressed intent of

             Congress.” Chevron, 467 U.S. at 842-43. But “if the statute is silent

             or ambiguous with respect to the specific issue, the question” for

             the Court is whether the agency has adopted “a permissible

             construction of the statute.” Id. at 843; see also City of Arlington v.

             FCC, 569 U.S. 290, 307 (2013).

                  Lastly, “[s]ubstantial evidence” is defined as “such relevant

             evidence as a reasonable mind might accept as adequate to support

             a conclusion.” Ceres Marine Terminals, Inc. v. Green, 656 F.3d 235,

             239 (4th Cir. 2011) (cleaned up). Substantial evidence “requires

             more than a mere scintilla but less than a preponderance.” Id.



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             (cleaned up). Federal courts do not undertake to “re-weigh

             conflicting evidence, make credibility determinations, or substitute

             [their] judgment” for that of the agency. Craig v. Chater, 76 F.3d

             585, 589 (4th Cir.1996). The Court is “bound by the [Commission’s]

             factual findings unless any reasonable adjudicator would be

             compelled to conclude to the contrary.” Herrera-Martinez v.

             Garland, 22 F.4th 173, 186 (4th Cir. 2022) (cleaned up).

                                        ARGUMENT

             I.   SEVERAL OF DUKE’S CHALLENGES TO THE
                  ORDER ARE NOT PROPERLY BEFORE THIS
                  COURT; ALL LACK MERIT

                  A. The Commission Has Jurisdiction over the
                     Pole Attachment Rates that ILECs Pay
                     Utilities, and It Reasonably Exercised that
                     Authority in Resolving AT&T’s Complaint

                  More than a decade ago, the Commission determined that it

             has authority under the Communications Act to ensure that the

             pole attachment rates ILECs pay utilities are just and reasonable.

             The D.C. Circuit in American Electric Power, and the Ninth Circuit

             in City of Portland, have since agreed. Nonetheless, Duke

             challenges the Commission’s authority for a third time in this

             Court, because in its view, those cases were wrongly decided. Br.



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             40; id. at 40-45. Duke’s jurisdictional challenge is barred by the

             doctrine of issue preclusion. But even if the Court were to reach the

             question, the Court should reject Duke’s challenge, because the

             Commission’s interpretation of section 224 of the Act is reasonable

             and well founded.

                        1. Issue Preclusion Bars Duke from
                           Challenging the Commission’s Jurisdiction
                           over the Pole Attachment Rates Paid by
                           ILECs

                  Duke’s challenge to the Commission’s jurisdiction over the

             pole attachment rates paid by ILECs is barred by issue preclusion.

             Duke is a wholly owned subsidiary of Duke Energy Corporation,

             which challenged the Commission’s jurisdiction over ILEC pole

             attachment rates in precisely the same way in American Electric

             Power and City of Portland and lost. Duke in this case cannot

             relitigate that issue on its corporate parent’s behalf to avoid the

             D.C. Circuit’s and the Ninth Circuit’s adverse decisions.

                  Issue preclusion bars “successive litigation of an issue of fact

             or law actually litigated and resolved in a valid court

             determination essential to the prior judgment,’ even if the issue

             recurs in the context of a different claim.” Taylor v. Sturgill, 553


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             U.S. 880, 892 (2008) (quoting New Hampshire v. Maine, 532 U.S.

             742, 748-49 (2001)). By precluding persons from raising issues

             “that they have had a full and fair opportunity to litigate, id. at 892

             (quoting Montana v. United States, 440 U.S. 147, 153 (1979)), the

             doctrine protects against “the expense and vexation attending

             multiple lawsuits, conserves judicial resources, and fosters reliance

             on judicial action by minimizing the possibility of inconsistent

             decisions.” Montana, 440 U.S. at 153-54.

                  In this circuit, issue preclusion bars a party from relitigating

             an issue decided adversely to it when five conditions are met: “the

             issue sought to be precluded is identical to one previously

             litigated”; “the issue was actually determined in the prior

             proceeding”; “the issue’s determination was a critical and necessary

             part of the decision in the prior proceeding”; “the prior judgment is

             final and valid”; and “the party against whom collateral estoppel is

             asserted ‘had a full and fair opportunity to litigate the issue in the

             previous forum.” Collins v. Pond Creek Mining Co., 468 F.3d 213,

             217 (4th Cir. 2006). The first four conditions have indisputably

             been satisfied here. Duke avers that “[t]he D.C. Circuit’s decision



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             affirming the FCC’s authority to determine just and reasonable

             rates for ILECs (as first asserted by the FCC in the 2011 Order)

             was wrongly decided,” and for that reason, “this Court should not

             apply that decision under the specific facts here.” Duke Br. 14.

                  The fifth condition is satisfied as well. Although issue

             preclusion generally only applies to parties to the earlier litigation,

             “a party bound by a judgment may not avoid its preclusive force by

             relitigating through a proxy. Preclusion is thus in order when a

             person who did not participate in a litigation later brings suit as

             the designated representative of a person who was a party to the

             prior adjudication.” Taylor, 553 U.S. at 895. That exception applies

             here. Duke Energy Corporation (Duke’s parent) was a party in

             American Electric Power, and it challenged the Commission’s

             determination in the 2011 Order that section 224(b)(1) of the Act

             provides the agency statutory authority to regulate the pole

             attachment rates paid by ILECs. See Brief of Petitioners, American

             Electric Power Service Corporation et al. v. FCC, D.C. Cir. No. 11-

             1146, at pp. i, iv, 19-34 (filed Jan. 13, 2012) (listing Duke Energy

             Corporation as one of the petitioners in the proceeding). Duke



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             Energy Corporation also challenged the Commission’s statutory

             authority to regulate ILEC pole attachments in City of Portland.

             Joint Opening Brief of Petitioners, American Electric Service Power

             Corporation et al. v. FCC, 9th Cir. No. 18-72689(L), 19-70490, at

             pp. 1, 51-56 (filed June 24, 2019). In support of its position, Duke

             Energy Corporation in both cases made the same legal arguments

             that Duke sets forth in its brief in this case. Compare id., pp. 19-25

             with Duke Br. 40-46.

                  Duke Energy Corporation thus “has had an ample day in

             court,” and issue preclusion bars it from having a third bite at the

             apple in this case via its subsidiary.2 Gulf Power Co. v. FCC, 669

             F.3d 320, 324 (D.C. Cir. 2012) (issue preclusion barred an electric

             utility from relitigating an issue that had been decided against its

             sister company by another federal circuit court of appeals); see




              2
                 Duke cannot circumvent the issue preclusion bar by reframing
             its argument as whether the American Electric Power correctly
             upheld the Commission’s authority to regulate the pole attachment
             rates paid by ILECs. “[I]f an issue can be turned into a new issue
             merely by asking whether it had been rightly decided, collateral
             estoppel would never apply.” Gulf Power Co. v. FCC, 669 F.3d at
             324.


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             Whitehead v. Viacom, 233 F.Supp.2d 715, 721 (D. Md. 2002)

             (parent company and subsidiary are in privity for purposes of res

             judicata); Saudi v. V. Ship Switzerland, S.A., 93 Fed.Appx. 516,

             520 (4th Cir. 2004) (same).3

                        2. The Commission Has Jurisdiction over the
                           Pole Attachment Rates that ILECs Pay
                           Utilities

                  Even if the Court were to entertain Duke’s challenge, it

             should reaffirm the Commission’s jurisdiction over ILEC pole

             attachment rates. Section 224(b)(1) of the Act, 47 U.S.C.

             § 224(b)(1), provides that “the Commission shall regulate the rates,

             terms, and conditions for pole attachments to provide that such

             rates, terms, and conditions are just and reasonable.” A “pole

             attachment,” in turn, is “any attachment by a cable television



              3
                Preclusion is particularly appropriate here. Duke Energy
             Corporation also has wholly-owned subsidiaries in the United
             States Courts of Appeals for the Sixth, Seventh, and Eleventh
             Circuits. Duke Power Corporation 2023 SEC 10-K at page 1-1. If
             this Court considers and rejects the merits of Duke’s challenge to
             the Commission’s authority over ILEC pole attachments, under
             Duke’s theory, one of its sister companies could again raise the
             issue before the Commission, and ultimately seek judicial review in
             another circuit. Issue preclusion is designed to prevent such
             duplicative litigation.


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             system or provider of telecommunications services to a

             pole…owned or controlled by a utility.” 47 U.S.C. § 224(a)(4). The

             Commission in the 2011 Order reasonably concluded that under

             section 224(b)(1), it may regulate the rates that ILECs pay for pole

             attachments, because ILECs indisputably are “provider[s] of

             telecommunications services.” 2011 Order, 26 FCC Rcd at 5328-33,

             ¶¶ 204-212.

                  Here, Duke presents the same argument that the D.C. Circuit

             found unpersuasive in American Electric Power, 708 F.3d at 186-

             88. It focuses on the definition of “telecommunications carrier,”

             which, for most purposes, is defined as “any provider of

             telecommunications services.” 47 U.S.C. § 153(51). “For purposes of

             [section 224],” however, “the term telecommunications carrier’ (as

             defined in [section 153]) does not include” ILECs. 47 U.S.C.

             § 224(a)(5). In Duke’s view, the statute’s exclusion of ILECs from

             the definition of “telecommunications carrier” must also mean that

             ILECs are excluded from the term “provider of telecommunications

             service.” Duke Br. 40-43. But that implication does not follow, as

             American Electric Power held.



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                  As the D.C. Circuit explained, 708 F.3d at 187, it was “error”

             to “insert” section 153(51)’s definition of “telecommunications

             carrier” “into [section] 224(a)(5)’s exclusion of ILECs.” Section

             153(51), the court pointed out, “is the general definition of

             telecommunications carrier, not the one tailored to [section] 224.”

             Id. By contrast, section 224 excludes ILECs from the term

             “telecommunications carrier,” 47 U.S.C. § 224(a)(5), but does not

             contain a comparable exclusion in the term “provider of

             telecommunications services,” even though the latter term appears

             (“cheek by jowl”) in the immediately preceding subsection, see 47

             U.S.C. § 224(a)(4). Id. Recognizing an “entirely intentional

             character in § 224(a)(4)’s use of the broader term,” the court upheld

             the Commission’s view that ILECs are “providers of

             telecommunications services” whose attachments are covered by

             the statute’s “just and reasonable” rate requirement. Id.; see 47

             U.S.C. § 224(b)(1). The Ninth Circuit subsequently followed the

             D.C. Circuit in City of Portland, 969 F.3d at 1053.

                  Undaunted, Duke argues that the D.C. Circuit’s reasoning

             was flawed. In Duke’s view, section 224(a)(5)’s cross-reference to



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             section 153(51) makes the terms “telecommunications carrier” and

             “provider of telecommunications services” in section 224(a)(4)

             “interchangeable.” Duke Br. 41. Duke’s reading, which the D.C.

             Circuit rejected in American Electric Power, fails here too. Though

             section 224(a)(5) cross-references the definition of

             telecommunications carrier in section 153(51), the definition of

             “pole attachment” in section 224(a)(4) does not. Because Congress

             restricted the definition of “telecommunications carrier” in section

             224(a)(5) to exclude ILECs, but it did not impose a similar

             restriction on “provider of telecommunications services” in section

             224(a)(4), the latter term retained its conventional meaning—

             which unquestionably includes ILECs. See American Electric

             Power, 708 F.3d at 187. If Congress wanted to establish a broad

             exclusion of ILEC attachments from section 224, as Duke contends,

             “it easily could have written” the definition of “pole attachment” in

             section 224(a)(4) to refer to any attachment by a

             “telecommunications carrier,” rather than the “broader term”—

             “provider of telecommunications services.” Id. See Burgess v.

             United States, 553 U.S. 124, 130 (2008).



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                  It is also notable that Congress elsewhere in section 224 did

             not use “telecommunications carrier” and “provider of

             telecommunications service” interchangeably. For example, the

             pole attachment rate formula in section 224(e) only sets rates for

             attachments used by “telecommunications carriers to provide

             telecommunications services.” 47 U.S.C. § 224(e). Also, “cable

             television system[s]” and “telecommunications carrier[s]”—but not

             ILECs—have a statutory right to nondiscriminatory access on

             utility poles. 47 U.S.C. § 224(f)(1). Congress’s use of “provider of

             telecommunications services” and “telecommunications carrier” in

             section 224 to define separate statutory rights shows that Congress

             “used the distinct terms very deliberately.” Corley v. United States,

             556 U.S. 303, 315 (2009).

                  Duke contends that the D.C. Circuit erred by “ignoring the

             essential legislative history of the 1996 Act.” Duke Br. 43. Of

             course, statutory language ordinarily controls over legislative

             history. U.S. v. Mitchell, 39 F.3d 465, 468-69 (4th Cir. 1994). In any

             event, while Duke cites the 1996 Act’s general goal of introducing

             competition into the telecommunications market, it cites no



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             legislative history “that suggests Congress intended to limit” the

             Commission’s authority to regulate ILEC pole attachments. United

             States v. Lund, 853 F.2d 242, 248 (4th Cir. 1988); see Consumer

             Electronics Ass’n v. FCC, 347 F.3d 291, 298-99 (D.C. Cir. 2003).

                  Nor does Duke get any mileage from the Commission’s

             original interpretation of “provider of telecommunications services”

             to exclude ILECs. Duke Br. 45-46. The Commission can change its

             position so long as it can show that the change “is permissible

             under the statute, that there are good reasons for it, and the

             agency believes it to be better.” FCC v. Fox Television Stations,

             Inc., 556 U.S. 502, 516 (2009). In the 2011 Order, the Commission

             revisited its original interpretation of section 224(a)(4) in response

             to evidence showing that ILEC pole ownership was declining, and

             for that reason, ILECs may have no longer “be[en] in an equivalent

             bargaining position with electric utilities in pole attachment

             negotiations.” 2011 Order, 26 FCC Rcd at 5328-29, ¶ 206. To

             ensure that ILECs would pay just and reasonable pole attachment

             rates going forward, the Commission reasonably reinterpreted

             “provider of telecommunications services.” On review, the D.C.



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             Circuit found that the Commission’s “new view satisfie[d] Fox’s

             requirements,” noting that it “very much doubt[ed]” that the

             Commission’s “prior interpretation was reasonable.” American

             Electric Power, 708 F.3d at 188.

                  Duke separately asserts that the Commission’s interpretation

             of section 224 creates an impermissible “regulatory gap,” because

             the agency does not also have jurisdiction over the rates the ILECs

             charge utilities. Duke Br. 48. Duke’s argument is not properly

             before the Court because Duke did not first present it to the

             Commission.

                  Section 405(a) of the Act, 47 U.S.C. § 405(a), provides that the

             filing of a petition for reconsideration with the Commission is a

             “condition precedent to judicial review” of any “questions of fact or

             law upon which the Commission…has been afforded no opportunity

             to pass.” Duke did not challenge the Commission’s jurisdiction on

             this ground in its application for review of the Bureau Order, nor

             did it raise it in a petition for reconsideration of the Order. See

             NTCH, Inc. v. FCC, 841 F.3d 497, 507-08 (D.C. Cir. 2016) (section




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             405(a) bars a court’s consideration of an issue that “was never

             reasonably flagged for the FCC”). Thus, the argument is waived.

                  In any event, even if the argument had not been waived, it

             lacks merit. The Commission, in exercising its statutory authority

             to ensure that the rates paid by ILECs are “just and reasonable,”

             see 47 U.S.C. § 224(b)(1), does take account of the rates that ILECs

             charge utilities. The Commission has stated that “[it] would be

             skeptical of a complaint by an [ILEC] seeking a proportionately

             lower rate to attach to an electric utility’s poles than the rate the

             [ILEC] is charging the electric utility to attach its poles.” 2011

             Order, 26 FCC Rcd at 5337, ¶ 218. In “such circumstances,” the

             Commission decided, a just and reasonable rate “would be the

             same proportionate rate charged the electric utility, given the

             incumbent LEC’s relative usage of the pole.” Id., n.662.

             Accordingly, when the agency has ordered a utility to lower the

             pole attachment rate that it charges an ILEC, it has ordered both

             parties to “negotiate” a new agreement “that reflects proportional

             reciprocal rates” for each party’s attachments on the other’s poles.

             Id. See, e.g., Verizon Maryland LLC v. The Potomac Edison Co., 35



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             FCC Rcd 13607, 13630, ¶ 52 (2020) (Verizon Maryland Order). The

             Commission issued the same directive to Duke and AT&T in this

             case. [Bureau Order ¶64].

                  AT&T has itself committed to reducing the pole attachment

             rates that it charges Duke so that its rates are proportional to the

             new, lower, just and reasonable rate that Duke must charge AT&T.

             [Order ¶24, n.88]. Should AT&T renege on that commitment, Duke

             can seek relief from the Commission, since the agency’s regulations

             allow utilities, as well as attachers, to file pole complaints. See 47

             C.F.R. § 1.1402(d) (defining “complaint” to include “a filing by…a

             utility”); id. at § 1.1402(e) (defining “complainant” to include “a

             utility”). Duke could thus file a complaint alleging that the newly

             reduced pole attachment rate that AT&T pays Duke is unjust and

             unreasonable in light of AT&T’s refusal to make a reciprocal

             reduction in the rate it charges Duke. The Commission would then

             have the opportunity (upon a persuasive showing) to revisit its

             determination in the Order that AT&T’s just and reasonable rate

             must be less than the amount it was paying Duke under the

             parties’ joint use agreement. [Order ¶24].



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                        3. The Commission Reasonably Exercised Its
                           Jurisdiction over the Pole Attachment Rates
                           that Duke Charges AT&T

                  Duke further argues that even if the Commission has

             jurisdiction over the rates that utilities charge ILECs, it was

             arbitrary and capricious for the Commission to regulate the rates

             that Duke charges AT&T. Duke Br. 49-51. According to Duke, the

             Commission “cannot resolve either the amount of refund” Duke

             owes AT&T “or the going-forward net rental methodology” without

             setting the rate that AT&T can charge Duke. Id. at 50. Duke never

             raised that argument before the Commission, however, so it is

             waived. See 47 U.S.C. § 405(a); NTCH, 841 F.3d at 507-08.4

                  Duke is also incorrect. First, as noted above, AT&T has

             agreed to charge Duke a proportional new rate for access to AT&T’s

             poles. Second, as Duke itself points out, Duke Br. 47, the

             Commission rejected the same argument in an earlier pole

             attachment complaint case, where it decided that “[i]dentifying the


              4
                Before the agency, Duke did not raise the statutory argument
             presented in its brief. Rather, it argued that “the Bureau erred in
             viewing the rate each party pays on a ‘proportional’ ‘per-foot-of-
             space-occupied’ basis.” [Order ¶24]; see [Duke Petition for
             Reconsideration at 3-4].


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             rate [the ILEC] pays will enable better informed negotiations

             between the parties to resolve their dispute.” Verizon Maryland

             Order, 35 FCC Rcd at 13629-30, ¶ 51.

                  Here, too, the Commission reasonably decided that after the

             parties negotiate a just and reasonable rate for AT&T’s

             attachments, they can determine the amount of a reciprocal

             reduction in the rate for Duke’s attachments. The Commission

             “need not address all problems in one fell swoop.” U.S. Telecom

             Ass’n v. FCC, 359 F.3d 554, 588 (D.C. Cir. 2004) (cleaned up).

                  For the same reason, there is no merit to Duke’s claim that

             the Commission failed to take account of the cost of Duke’s poles

             relative to AT&T’s in ordering the parties to negotiate

             “proportional reciprocal rates for Duke’s attachments to AT&T’s

             poles.” Duke Br. 50-51; see [Bureau Order ¶64]. Through

             negotiations, AT&T and Duke can agree to reciprocal pole

             attachment rates that account for their different pole costs. In any

             event, Duke recognized that there were “differential cost bases”

             underlying the rates in its joint use agreement with AT&T. [Duke

             Answer 34-35]. It was not unreasonable for the Commission to



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             require AT&T to offer Duke a proportional decrease in the rate

             that Duke had already agreed to pay in a voluntarily negotiated

             agreement.

                  B. The Commission Did Not Retroactively Apply
                     a New Standard in Resolving AT&T’s Pole
                     Attachment Complaint Against Duke

                  Duke asserts that the Commission, without explanation,

             retroactively applied a “new” standard in reviewing AT&T’s pole

             attachment complaint. Duke Br. 18-22. Duke’s argument lacks

             merit, for three reasons. First, the standard Duke contends the

             Commission changed is based on the Bureau’s decision in Verizon

             Florida. But under well-established precedent, the Commission is

             not bound by a staff decision or its reasoning. Second, the

             Commission reasonably explained its decision not to follow Verizon

             Florida. Third, Duke could not reasonably have assumed that if the

             Commission had followed Verizon Florida, the utility would not

             have faced refund liability. Since 2011, the Commission has made

             clear that utilities like Duke can be directed to issue refunds where

             the pole attachment rates that they charge ILECs are not just and

             reasonable.



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                        1. The Commission Did Not Adopt a New
                           Standard by Declining to Follow a Decision
                           Issued by Its Staff

                  The 2011 Order placed “the burden” on ILECs with

             agreements negotiated after that order to show that they were

             “similarly situated” to other attachers and thus were entitled to

             “comparable” rates, terms, and conditions. See 47 C.F.R. § 1.1424

             (2011). If an ILEC could make that showing, it would be entitled to

             the New Telecom Rate. But if the record showed that the

             agreement provided the ILEC net benefits relative to other

             attachers, the ILEC would be required to pay a “different rate.” In

             that circumstance, the Commission explained, the Old Telecom

             Rate would be a “reference point” in determining the just and

             reasonable ILEC pole attachment rate. 2011 Order, 26 FCC Rcd at

             5336, ¶ 218.

                  The Bureau properly applied the Commission’s guidance from

             the 2011 Order in this case. It concluded that the rate that AT&T

             paid Duke under the parties’ joint use agreement (which is

             considered an “existing” agreement for purposes of the 2011 Order)

             was not just and reasonable. [Bureau Order ¶8]. But it further



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             determined that the agreement provided AT&T “material

             advantages” relative to other attachers on Duke’s poles. The

             Bureau thus found that AT&T was entitled to a pole attachment

             rate not to exceed the Old Telecom Rate for the period covered by

             the 2011 Order. [Bureau Order ¶47] (citing 2011 Order, 26 FCC

             Rcd at 5337, ¶ 218). The Commission reasonably upheld the

             Bureau’s findings. [Order ¶¶24-37].

                  Relying on the Bureau’s 2015 decision in Verizon Florida,

             Duke contends that the Bureau (and, on affirmance, the

             Commission) applied the wrong analysis. Duke Br. 18-22. Duke

             distills two requirements from Verizon Florida: First, “where the

             agreement provides competitive advantages to the ILEC, the ILEC

             must demonstrate that the ‘monetary value’ of those competitive

             advantages does not justify the rate the ILEC is charged under

             the…agreement,” Duke Br. 20, and second, “the Old Telecom Rate

             serves as a ‘reference point’ only in rate disputes involving ‘new’

             agreements—not ‘existing agreements,’” Duke Br. 21. Because the

             Bureau did not apply those two requirements in its review of




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             AT&T’s complaint, Duke argues that the Commission adopted a

             new standard when it upheld the Bureau Order. Id. at 18-21.

                  Duke’s argument fails at the outset, because the Verizon

             Florida decision was issued by the Bureau—not the Commission.

             And because no party sought full Commission review of it, the

             Commission never had an opportunity to consider the Bureau’s

             reasoning. See Verizon Maryland Reconsideration Order, 2022 WL

             990572, ¶ 14.

                  It is “well-established…that an agency is not bound by the

             actions of its staff if the agency has not endorsed those actions.”

             Vernal Enters., Inc. v. FCC, 355 F.3d 650, 660 (D.C. Cir. 2004); see

             Comcast Corp. v. FCC, 526 F.3d 763, 769 (D.C. Cir. 2008) (same);

             cf. Nat’l Fed. of the Blind v. U.S. Abilityone Comm’n, 421 F.Supp.3d

             102, 143 (D. Md. 2019) (“Agency leadership may permissibly depart

             from the views of subordinate staff as long as the agency’s ultimate

             decision is based on the relevant factors and is satisfactorily

             explained.”) (citing Dep’t of Commerce v. New York, ––– U.S. –––

             139 S. Ct. 2551, 2570–71 (2019)). A non-binding staff decision like




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             Verizon Florida therefore cannot establish a legal standard that

             the Commission must apply.5

                        2. The Commission Reasonably Declined to
                           Follow an Earlier Staff-Level Decision and
                           Fully Explained Its Decision Not to Do So

                  Because the Commission is not bound by the decisions of its

             staff, it is not required to explain its decision not to follow them.

             See SNR Wireless LicenseCo, LLC v. FCC, 868 F.3d 1021, 1037

             (D.C. Cir. 2017); Amor Family Broad. Group v. FCC, 918 F.2d 960,

             962-963 (D.C. Cir. 1990). Indeed, the Commission can “disavow”

             without distinguishing prior staff actions that could be read to be

             inconsistent with Commission’s own. SNR Wireless, 868 F.3d at

             1038. Nonetheless, the Commission provided a lengthy explanation

             for why it would not follow Verizon Florida, and its decision was

             reasonable.

                  First, the Commission pointed out that it had already

             explained that it would not interpret Verizon Florida to require “a

             party in a pole attachment complaint proceeding…to quantify the


              5
                Indeed, the Commission had already declined to follow Verizon
             Florida in a different pole attachment complaint case for that
             reason. See Verizon Maryland Reconsideration Order ¶ 14 & n.63.


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             value of individual benefits an incumbent LEC receives under a

             joint use agreement” because “that interpretation” is

             “impracticable, especially in the absence of any rules prescribing a

             methodology for valuing such benefits.” [Order ¶25] (quoting

             Verizon Maryland Reconsideration Order, 2022 WL 990572, ¶ 14).

                  Second, the Commission reasonably explained why it

             concluded that the Old Telecom Rate should serve as a reference

             point in setting just and reasonable rates in new joint use

             agreements and existing agreements. [Order ¶27]. It pointed out

             that it had already used the Old Telecom Rate as a “reference

             point” in the same circumstances. [Order ¶27]; Verizon Maryland

             Order, 35 FCC Rcd at 13169, ¶ 30. In the Verizon Maryland Order,

             the Commission concluded that the Old Telecom Rate is an

             appropriate benchmark for existing agreements because it

             “accounts for” the material advantages provided to ILECs. Verizon

             Maryland Order, 35 FCC Rcd at 13619, ¶ 30. The Commission also

             reiterated the advantages of using the Old Telecom Rate—for

             example, it is “more administrable to look to [it]…than to attempt

             to develop…an entirely new rate” in each pole attachment



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             complaint case. See [Order ¶28] (citing 2011 Order, 26 FCC Rcd at

             5337, ¶ 218).

                  Duke responds that because the 2011 Order stated that the

             Old Telecom Rate is a reference point for rates in new agreements,

             it cannot also be a reference point for rates in existing agreements.

             Duke Br. 21-22. But the 2011 Order does not prohibit the

             Commission from using that rate as a benchmark for existing

             agreements— it does not address that issue at all. In fact, nothing

             in the Commission’s precedent—including Verizon Florida—barred

             the Commission, after examining the record, from setting AT&T’s

             just and reasonable rate at an amount no greater than the Old

             Telecom Rate based on the joint use agreement and the parties’

             submissions. Furthermore, the Commission explained that the

             reasons for looking to the Old Telecom Rate in setting rates in new

             joint use agreements apply equally to existing agreements. [Order

             ¶28]; see Verizon Maryland Order, 35 FCC Rcd at 13169, ¶ 30.

             Duke does not engage with the substance of the Commission’s

             explanation. Duke Br. 21-22.




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                  Thus, even if Verizon Florida was binding Commission

             precedent—which it is not—the Commission satisfied its obligation

             under the Administrative Procedure Act to provide a reasoned

             explanation for its change in position. Fox, 556 U.S. at 516.

                        3. There Is No Basis to Depart from the
                           Presumption that Adjudicatory Actions Are
                           Retroactive

                  Retroactivity is the “norm in agency adjudications no less

             than judicial adjudications,” AT&T Corp. v. FCC, 454 F.3d 329, 332

             (D.C. Cir. 2006); see SEC v. Chenery Corp., 332 U.S. 194, 203

             (1947), and “[i]n cases in which there are new applications of

             existing law, clarifications, and additions, the courts start with a

             presumption in favor of retroactivity.” Verizon Tel. Cos. v. FCC, 269

             F.3d 1098, 1109 (D.C. Cir. 2001) (cleaned up); ARA Svcs., Inc. v.

             NLRB, 71 F.3d 129, 135 (4th Cir. 1995) (observing the retroactive

             application of a new rule is appropriate where it “attempts to fill a

             void in an unsettled area of law”) (cleaned up). Courts only “depart”

             from that presumption “when to do otherwise would lead to

             manifest injustice.” AT&T, 454 F.3d at 332; see ARA Services, 71

             F.3d at 135.



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                  Here, Duke “cannot point…to a settled” standard “on which it

             reasonably relied” that the Commission changed in the Order.

             AT&T, 454 F.3d at 332. As we have explained, the Bureau in

             Verizon Florida could not establish a standard that the

             Commission was required to apply in reviewing pole attachment

             complaints brought by ILECs against utilities. See pp. 60-61,

             above. Because “there was no such preexisting [standard], most of

             the force has gone out of [Duke’s] appeal to fairness.” Cassell v.

             FCC, 154 F.3d 478, 486 (D.C. Cir. 1998).

                  Regardless, even if Verizon Florida established a standard

             that the Commission must employ, Duke could not have reasonably

             assumed that it was insulated from refund liability. Duke Br. 24-

             25. Though Verizon Florida could be interpreted to “impose[] a

             relatively high evidentiary standard on ILECs challenging rates

             within ‘existing agreements,’” id. at 25; see [Order ¶ 25], Duke

             concedes that it still faced refund liability if an ILEC like AT&T

             made the requisite evidentiary showing, Duke Br. at 25. And, even

             if the Old Telecom Rate is not a “reference point” for “existing

             agreements,” id., that just gives the Commission more discretion to



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             set a just and reasonable pole attachment rate for an ILEC with an

             existing joint use agreement.

                  Any “financial burden” on Duke thus results from its own

             assumption of risk. Duke “gamble[d]” that AT&T could not make

             the evidentiary showing that it contends the Bureau required in

             Verizon Florida; “it was not a sure bet.” Cassell, 154 F.3d at 486;

             see AT&T, 454 F.3d at 333. And “[a]lthough hope springs eternal,

             hope is no surrogate for reliance.” Clark-Cowlitz Joint Operating

             Agency v. FERC, 826 F.2d 1074, 1084 (D.C. Cir. 1987).

                  Furthermore, Duke has not identified any other Commission

             (or, for that matter, Bureau) decision that applies the Bureau’s

             reasoning in Verizon Florida. “[T]he longer and more consistently

             an agency has followed one view of the law, the more likely it is

             that private parties have reasonably relied to their detriment on

             that view.” Clark-Cowlitz, 826 F.2d at 1082-1083; cf. ARA Services,

             71 F.3d at 135. Conversely, an agency “ruling in [a] solitary

             proceeding can scarcely be viewed as ‘well established.’” Clark-

             Cowlitz, 826 F.2d at 1083. Any reliance Duke placed on Verizon




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             Florida—which was an outlier among the agency’s decisions

             resolving ILEC pole attachment complaints—is insubstantial. Id.

                  Indeed, as Duke itself points out, both the Bureau and the

             Commission have repeatedly declined to follow the Bureau’s

             reasoning in Verizon Florida in other pole attachment complaint

             cases—two of which were resolved in Commission-level decisions

             released prior to the Order on review. Duke Br. 26-27. That

             undercuts rather than bolsters Duke’s retroactivity argument,

             because it shows that in rejecting Duke’s interpretation of Verizon

             Florida, the Commission merely followed its own precedent, which

             is what agencies are expected to do.6




              6
                Duke’s assertion that “[t]here is minimal statutory interest in
             retroactively applying the new standard” is without merit. Duke
             Br. 27. Section 224(b) of the Act provides that the Commission
             “shall regulate the rates…for pole attachments to provide that”
             they “are just and reasonable, and shall adopt procedures…to hear
             and resolve complaints concerning such rates.” 47 U.S.C.
             § 224(b)(1). The authority to provide for refunds naturally flows
             from the power to resolve pole attachment complaints. Exercising
             that authority, the Commission amended its rules to “allow
             monetary recovery in a pole attachment action to extend back as
             far as the applicable statute of limitations allows.” 2011 Order, 26
             FCC Rcd at 5289, ¶ 110; 47 C.F.R. § 1.1410(c) (2011); 47 C.F.R.
             § 1.1407(a)(2) (2018).


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                  C. The Commission Properly Allocated the Cost
                     of the Safety Space to Duke

                  Duke contends that the Commission erred in upholding the

             Bureau’s determination that Duke cannot charge AT&T for the 40

             inches of safety space on its poles in calculating the Old Telecom

             Rate. Duke Br. 32-39. Duke’s argument, however, contradicts

             settled precedent that the cost of the safety space should be

             assigned to the utility in calculating pole attachment rates because

             that space is “used and usable” by the electric utility. Indeed, the

             record showed that Duke was actually using the safety space on

             some of its poles to mount streetlights. As for Duke’s argument

             that the Commission’s allocation violates the statute, it has been

             waived, because Duke did not raise it before the Commission. See

             47 U.S.C. § 405(a). In any event, section 224 of the Act is better

             read to support the Commission’s determination that the safety

             space should be assigned to Duke, the electric utility.




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                        1. The Commission Reasonably Determined
                           that Duke Must Assume the Cost of the
                           Safety Space

                  In 2000, the Commission held that utility pole owners, not

             attachers, should bear the cost of the safety space on a pole. The

             Commission determined that “‘the presence of” a utility’s

             “potentially hazardous electric lines…makes the safety space

             necessary,’” and but for those lines, that space “‘would otherwise be

             usable space.’” [Order ¶42] (quoting 2000 Fee Order, 15 FCC Rcd at

             6467, ¶ 22). Because the safety space “‘is effectively usable space

             occupied by’ the electric lines,” the Commission determined that its

             cost should be assigned to the utility. [Order ¶42]. The Commission

             “affirmed this holding on reconsideration in 2001,’” [Order ¶42]

             (citing Amendment of Rules and Policies Governing Pole

             Attachments, 16 FCC Rcd 12103, 12130, ¶ 51 (2001)), and “re-

             affirmed” it “in the 2011 Order,” [Order ¶42] (citing 2011 Order, 26

             FCC Rcd at 5320, ¶ 180). To be sure, the Commission has

             recognized that ILECs (unlike cable providers and CLECs) often

             obtain pole attachments under cost-sharing arrangements. Duke

             Br. 37-38; see 2011 Order, 26 FCC Rcd at 5333, ¶ 214; 2018 Order,



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             33 FCC Rcd 7768, ¶ 124. But that distinction “does not alter the

             Commission’s rationale—i.e., the presence of hazardous electric

             lines—for attributing the safety space to the electric utility.” [Order

             ¶44].

                     Duke now asks this Court to overrule that “settled

             precedent.” Duke Br. 33. Duke’s view is that “[t]he [safety] space is

             only required on [its] poles because of communications facilities.”

             Id. To the contrary, the Commission has reasonably assigned the

             safety space to the utility because the utility needs 40 inches of

             space to separate its electric lines from cable and

             telecommunications attachments on the same pole. 2000 Fee Order,

             15 FCC Rcd at 6467, ¶ 22. By contrast, when AT&T attaches its

             telecommunications lines to a pole, its facilities occupy the same

             presumptive amount of physical space (one foot) whether or not

             Duke places an electric line on the same pole. See id.; 47 C.F.R.

             § 1.1410.

                     Moreover, Duke is the only entity on a pole that can use the

             safety space, and it does so—the record shows that Duke “mounts

             streetlights in the safety space.” See [Order n.167]; Adoption of



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             Rules for the Regulation of Cable TV Pole Attachments, 72 FCC 2d

             59, 71 ¶ 24 (1979) (1979 Order) (noting the “common practice of

             electric utility companies to mount[] street light support” in the

             safety space). In any event, “[t]he issue is not whether the space is

             actually used, but whether it is usable.” Adoption of Rules for the

             Regulation of Cable TV Pole Attachments, 77 FCC 2d 187, 190-91,

             ¶ 10 (1980) (emphasis in original).7

                        2. Duke’s Statutory Argument Is Waived and
                           Otherwise Lacks Merit

                  Finally, Duke asserts that the Commission’s assignment of

             the safety space to Duke is based on an “erroneous interpretation

             of the Act.” Duke Br. 38. That argument fails, too.




             7
               Duke argues that the reasoning of the 1979 Order excluding cable
             providers from sharing the costs of the safety space does not
             support the agency’s decision to exclude telecommunications
             carriers. Duke Br. 32-38. But the 1979 Order did not and could not
             speak to the allocation of safety space costs to telecommunications
             carriers, because those entities did not gain a statutory right to
             attach facilities to utility poles until Congress amended section 224
             in 1996. The Commission properly relied on its more recent
             precedent addressing pole attachments for telecommunications
             carriers in assigning the safety space to Duke. [Order ¶42, nn.160-
             161].



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                  The Commission’s regulations define “‘space occupied’” on a

             pole to mean that space is “‘actually occupied’” by an attacher.

             [Order n.158] (quoting BellSouth Telecommunications, LLC d/b/a

             AT&T Florida v. Florida Power and Light, 35 FCC Rcd 5321, 5330,

             ¶ 16 (EB 2020) (AT&T Florida I). Having previously determined

             that “‘AT&T’s attachments do not actually occupy the

             communications safety space,’” the Commission concluded that

             space (or a portion thereof) should not be assigned to AT&T in

             calculating AT&T’s just and reasonable pole attachment rate.

             [Order n.158] (quoting AT&T Florida I, 35 FCC Rcd at 5330, ¶ 16).

                  Here, Duke asserts that the “space occupied” restriction in

             the Commission’s regulations can only apply to cable attachments.

             Duke Br. 39-40; see id. at 34-35. Duke points to section 224’s

             allocation of space on a pole: The cable rate formula (section

             224(d)(1)) allocates usable space on a pole based on the “space

             occupied by an attachment”, whereas the telecommunications rate

             formula (section 224(e)) allocates that space according to the “space

             required for each entity.” According to Duke, AT&T should “pay for

             at least a portion of the [safety space]” because that space is



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             “‘required’ by the presence of [its] attachments on Duke’s poles.” Id.

             at 39.

                  Duke’s statutory argument is not properly before this Court

             because Duke did not first present it to the Commission. 47 U.S.C.

             § 405(a). Before the agency, Duke never argued that the Bureau

             misinterpreted the Act when it declined to assign a portion of the

             safety space to AT&T, see [Duke Petition for Reconsideration at

             10], nor did Duke file a petition for reconsideration of the

             Commission’s decision to affirm that holding in the Bureau Order.

                  In any event, Duke’s argument fails. The Commission made

             clear in the 2011 Order that ILEC pole attachment rates are not

             subject to section 224(e)(1) of the Act, because that provision

             prescribes rates paid by “telecommunications carriers.” 2011 Order,

             26 FCC Rcd at 5333, ¶ 213; see American Electric Power, 708 F.3d

             at 186. Pole attachment rates for ILECs are set by a rule (47 C.F.R.

             § 1.1413(b)) that the Commission promulgated under section

             224(b)(1) of the Act. 2011 Order, 26 FCC Rcd at 5240, 5333, ¶ 213.

             Section 224(e) thus does not prevent the Commission from

             assigning the safety space to utilities instead of ILECs, like AT&T.



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                  Duke appears to argue that because AT&T pays rates that

             are equivalent to the rates paid by telecommunications carriers

             (i.e., the Old Telecom Rate or the New Telecom Rate), the “space

             required” assignment in section 224(e)(1) should also apply to the

             rates paid by AT&T. See Duke Br. 39 (“To the extent AT&T is

             entitled to a regulated rate at all, AT&T would only be entitled to

             the Section 224(e) rate.”). But Duke fails to demonstrate that the

             difference in language in sections 224(d)(1) and 224(e)(1) requires

             different space allocations. There is no evidence that a

             telecommunications attachment “requires” space that it “does not

             physically occupy[].” The Commission’s rules thus sensibly treat

             those statutory terms as interchangeable. See 47 C.F.R.

             § 1.1406(d)(1), (2). Though Duke may believe that it has “a better”

             interpretation of “space required” that would assign some or all the

             costs of the safety space to AT&T, it has “failed to carry [its]

             burden” of showing that the Commission’s statutory interpretation

             is unreasonable. Montgomery County, 811 F.3d at 133.

                  For all of those reasons, this Court should decline Duke’s

             invitation to re-litigate the Commission’s longstanding policy of



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             assigning the cost of the safety space to electric utilities, which the

             Commission correctly applied in assigning it to Duke.

             II.   AT&T’S CHALLENGES TO THE ORDER ARE
                   MERITLESS

                   A. The Commission Properly Determined that
                      AT&T Should Pay the Old Telecom Rate
                      Because It Is Not Similarly Situated to Other
                      Entities with Attachments on Duke’s Poles

                   The Commission reasonably upheld the Bureau’s

             determination that AT&T should pay the Old Telecom Rate

             because AT&T enjoys material advantages that are not available to

             other attachers on Duke’s poles. The Bureau’s conclusion was

             based on the terms in AT&T’s joint use agreement, not the “traits

             that constitute an ILEC.” AT&T Br. 18; see id. at 25-30. Also,

             consistent with the Commission’s regulations and precedent, the

             Bureau only compared contract terms, not other attachers’

             statutory and regulatory rights.

                        1. Substantial Evidence Supports the
                           Commission’s Conclusion Regarding AT&T’s
                           Material Advantages over Other Attachers

                   As the Bureau (and later the Commission) explained, the

             terms in AT&T’s joint use agreement with Duke provide AT&T




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             with five material advantages over other attachers on Duke’s poles.

             Specifically,

                 AT&T has guaranteed access to Duke’s poles and a right to
                  remain on those poles after the parties terminate the joint
                  use agreement. By contrast, other attachers are not
                  guaranteed space on new poles, and they are required to
                  remove their attachments after their agreements with Duke
                  terminate. [Order ¶25]; [Bureau Order ¶¶21-23].

                 Unlike other attachers, AT&T’s rate is not based on the
                  amount of space it occupies; thus, it can “expand the space it
                  occupies on a pole at no additional cost.” [Order ¶50]; [Bureau
                  Order ¶20].

                 Duke provides AT&T a “schedule” of the costs to replace a
                  pole, whereas other attachers must wait for Duke to provide
                  an estimate or an invoice. That provides AT&T a “budgeting
                  and planning advantage.” [Order ¶51]; [Bureau Order ¶¶24-
                  27].

                 AT&T is permitted to place attachments on Duke’s poles
                  without prior approval from Duke and without paying a
                  permitting fee, unlike other attachers on Duke’s poles. [Order
                  ¶52]; [Bureau Order ¶26].

                 AT&T’s attachments can remain at the lowest position on
                  Duke’s poles, which allows AT&T to access its attachments
                  “without needing to work through the lines of other
                  attachers.” [Order ¶53]; [Bureau Order ¶¶31-33].


                   Though AT&T criticizes some of the agency’s specific findings

             about the benefits it receives from its joint use agreement with

             Duke, it has not established that the Commission’s decision is


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             unsupported by substantial evidence or otherwise arbitrary and

             capricious. Thus, its “arguments are reduced to no more than a

             substantive disagreement with” the Commission. Ohio Valley Env’t

             Coal. Inc. v. U.S. Army Corps of Eng’rs, 716 F.3d 119, 129 (4th Cir.

             2013).

                  To start, the Commission did not “depart[] from its precedent

             and regulation” by requiring AT&T to establish that it was

             similarly situated to cable providers and CLECs instead of

             requiring Duke to establish that it was not. AT&T Br. 34-35. The

             majority of the complaint period is subject to review under the

             2011 Order, which meant that to pay the New Telecom Rate, it was

             AT&T’s burden to demonstrate that it is comparable to other

             attachers on Duke’s poles. See pp. 18, 21, 24-25, 28, above; 2018

             Order, 33 FCC Rcd at 7768, ¶ 127, n.478; BellSouth

             Telecommunications, LLC d/b/a AT&T Florida v. Florida Power

             and Light Company, 2022 WL 2104259, ¶ 8 (2022) (AT&T Florida

             II) (holding that an ILEC pole attachment complaint was

             reviewable under the 2011 Order for the period prior to the

             effective date of the 2018 Order). However, even when AT&T was



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             presumed to be comparable to other attachers, the record evidence

             established that it was not. [Order ¶¶46-54]; [Bureau Order ¶¶16-

             33].

                    Moreover, it is irrelevant that Duke “was unable to prove it

             incurs a single unreimbursed cost because of the alleged

             advantages” provided AT&T. AT&T Br. 35. Neither the 2018 Order

             nor the relevant Commission regulation (47 C.F.R. § 1.1413)

             requires a utility to calculate a value for each of an ILEC’s material

             advantages to establish that the ILEC is not entitled to the New

             Telecom Rate. [Order ¶46]; see also pp. 28-29, 61-62, above.

                    AT&T’s remaining arguments challenge the Commission’s

             determination that the joint use agreement provides AT&T

             benefits that are not available to other attachers on Duke’s poles.

             AT&T Br. 35-40. They all lack merit.

                    First, the Commission reasonably concluded that AT&T’s

             right to access Duke’s poles is a material advantage. Unlike other

             attachers, AT&T has guaranteed access to Duke’s poles and a right

             to remain on those poles in the event the parties terminate the

             agreement. [Order ¶25]; [Bureau Order ¶¶21-23]. Unlike AT&T,



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             other attachers must remove their facilities in the event their

             agreements are terminated. [Order ¶25]; [Bureau Order ¶¶21-23].

             Nor did the Commission err by “ignoring the statutorily-

             guaranteed access rights of AT&T’s competitors.” AT&T Br. 35.

             The Commission’s regulations and precedent only compare contract

             terms, not statutory and regulatory rights. See pp. 93-96, below.

                  AT&T asserts that the Commission’s determination that

             AT&T’s right to access Duke’s poles is superior to that of other

             attachers [Order ¶¶47-49] cannot be squared with the

             Commission’s statement that Duke can “deny AT&T access to the

             same poles for the very same reasons” that Duke can deny access to

             cable providers and CLECs under section 224(f)(1) of the Act.

             AT&T Br. 36. AT&T misreads the Order. The Commission’s

             point—which AT&T has not rebutted—is that Duke can exclude

             cable operators and CLECs, but it cannot exclude AT&T. Whereas

             section 224(f)(1) of the Act permits a utility to deny access “where

             there is insufficient capacity and for reasons of safety, reliability,

             and generally applicable engineering purposes,” “under the [joint

             use agreement], Duke’s poles must have sufficient capacity to



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             accommodate AT&T’s attachments and replace insufficiently tall or

             strong poles.” [Order ¶48].

                  The Commission also did not err in rejecting AT&T’s

             argument that it was disadvantaged because the joint use

             agreement permits either party to terminate the other’s right to

             make additional attachments. [Order ¶49]. As the Commission

             explained, “[b]ecause this right is reciprocal, and Duke needs to

             attach to AT&T’s new pole lines,” “Duke is unlikely to terminate

             AT&T’s access to new poles and has, in fact, refrained from doing

             so for more than two decades.” [Order ¶49].

                   AT&T contends that any analysis of an ILEC’s advantages is

             limited to “the terms of the [joint use agreement],” not the

             “likelihood that the electric utility may enforce those terms.” AT&T

             Br. 36. As a practical matter, that contention makes little sense. It

             is also belied by the Commission’s precedent and regulations. The

             Commission in the 2011 Order predicted that “electric utilities are

             unlikely” to require ILECs to remove attachments from poles

             “given the likelihood that incumbent LECs would, in response,

             deny electric utilities access to their poles.” 26 FCC Rcd at 5335,



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             n.655. Further, the Commission’s regulations require a utility to

             present “clear and convincing evidence that the [ILEC] receives

             benefits under its pole attachment agreement…that materially

             advantage[]” it “over other” attachers “on the same poles.” 47

             C.F.R. § 1.1413(b). That the termination provision is reciprocal and

             has never been enforced is strong evidence that it does not

             disadvantage AT&T.

                  Second, the Commission reasonably determined AT&T was

             materially advantaged by the rate in the joint use agreement,

             which is not based on the amount of space that AT&T occupies on a

             pole. [Order ¶ 50]. AT&T counters that because the Commission

             “invalidate[d]” that rate in the Order, and replaced it with a rate

             that is based on the space that it occupies, the Commission cannot

             “consider” that rate “an advantage to AT&T.” AT&T Br. 37. AT&T

             never raised that argument before the agency, so it is waived. See

             47 U.S.C. § 405(a).

                  Regardless, those two determinations are easily reconciled.

             The Commission concluded that the pole attachment rate paid by

             AT&T under the joint use agreement was not just and reasonable



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             [Order ¶24], but it separately determined that terms in the

             agreement—like a guaranteed right to access poles—afforded

             AT&T material advantages over other attachers. AT&T still

             retains valuable benefits in the joint use agreement, which is why

             the Commission decided that AT&T should pay a rate not to exceed

             the Old Telecom Rate. The fact that the Old Telecom Rate (like the

             New Telecom Rate) is based on the space occupied is irrelevant.

             That rate is the result of the Commission’s determination that

             AT&T is materially advantaged; it does not foreclose the

             Commission from considering the advantages that led to that

             determination.

                  Third, the Commission properly determined that AT&T has a

             “budgeting and planning advantage” because the amount it pays to

             replace one of Duke’s poles is based on a “schedule” in the joint use

             agreement. [Order ¶51]; [Bureau Order ¶¶24-27]. AT&T contends

             that the Commission “cannot conclude…that there is any

             advantage” from AT&T’s access to a pole replacement cost schedule

             because Duke failed to provide reliable evidence that the amount

             AT&T pays is less than the amounts other attachers pay for the



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             same work. AT&T Br. 37. But “[t]he Bureau made no finding on

             the dollar difference between actual and scheduled costs.” [Order

             ¶51]. Instead, the Bureau determined that AT&T “benefits” from

             the cost schedule because it permits AT&T to “determine, in

             advance, the cost of needed pole replacements without having to

             request estimates and invoices from Duke,” as other attachers

             “must do.” [Order ¶51]. “AT&T d[id] not dispute this benefit” below,

             id., nor does it here.

                   Fourth, the Commission reasonably upheld the Bureau’s

             conclusion that the joint use agreement materially advantages

             AT&T by allowing it to place attachments on Duke’s poles without

             prior approval from Duke and without paying a permitting fee,

             unlike other attachers on Duke’s poles, who must do both. [Order

             ¶52]; see [Bureau Order ¶26]. Prior to the Order, the Commission

             had already decided that “material benefits may include no

             advance approval to attach to a pole owner’s poles.” [Order ¶52];

             see 2018 Order, 33 FCC Rcd at 7771 ¶ 128 (recognizing that

             “material benefits may include…‘no advance approval to make

             attachments’”) (quoting 2011 Order, 26 FCC Rcd at 5335, n.654)



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             (cleaned up); see AT&T Florida II, 2022 WL 2104259, ¶ 17.

             Consistent with that earlier finding, the Commission agreed with

             the Bureau that AT&T “enjoys” a “significant advantage” over

             other attachers because it has “immediate access to Duke’s poles

             without having to submit an application, pay a fee, and then wait

             for Duke to either approve the application, conditionally approve it

             subject to make-ready requirements, or deny it.” [Order ¶52].8

                  Nor did the Commission “incorrectly shift[] the burden to

             AT&T to demonstrate that it is not advantaged” by the joint use

             agreement. AT&T Br. 38. Under the agency’s rules, the party filing

             an application for Commission review of a Bureau order carries the

             burden to show that the Bureau erred and that its decision should

             be overruled. 47 C.F.R. § 1.115; KGAN Licensee, 30 FCC Rcd 7664,

             7665, ¶ 3 (2015). When the Commission stated that AT&T did not




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                In doing so, the Commission did not rely on the findings in the
             2018 Order about how the one-touch-make-ready process (which is
             only available to cable providers and CLECs) expedites pole access.
             AT&T Br. 38. The Commission merely cited that portion of the
             2018 Order in support of the general proposition that “when the
             attacher is in control of the process, the process almost certainly
             takes less time and costs less money.” [Order ¶52 & n.208].


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             “sufficiently explain” the delays that it allegedly encounters when

             it attaches to Duke’s poles, the Commission was examining the

             arguments and evidence submitted by AT&T in support of its

             contention that the Bureau had erred. [Order ¶52, n.208] (citing

             [AT&T Application for Review at 12-13]); see [Bureau Order ¶¶28-

             30].

                    Fifth, the Commission correctly concluded that the joint use

             agreement materially advantages AT&T by permitting its

             attachments to remain at the lowest position on Duke’s poles.

             [Order ¶53]; see [Bureau Order ¶¶31-33]; AT&T Florida II, 2022

             WL 2104259, ¶ 14 (because its attachments occupy the lowest

             position, “AT&T’s employees work in a safer area of the pole and

             can more easily identify and access AT&T’s attachments”).

                    The Commission did not “flip[] the burden of proof” to AT&T.

             AT&T Br. 39. Rather, the Commission determined that AT&T’s

             application for review failed to provide a sufficient basis to

             overturn the Bureau Order. Though AT&T asserts that its pole

             location is costlier and riskier, AT&T Br. 39, the Bureau found that




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             AT&T “provide[d] scant information” in support of its position.

             [Bureau Order ¶33 n.103].

                  AT&T nonetheless contends that it “substantiated some of

             those costs by submitting aerial damage reports”, which allegedly

             “show[] that its location on the pole is…more vulnerable to

             vandalism and damage.” AT&T Br. 39. But the Bureau pointed out

             that AT&T did not provide data establishing that any actual harm

             occurred to AT&T’s attachments because of their position at the

             bottom of Duke’s poles. [Bureau Order ¶33 n.103]. The court “may

             not displace the [Commission’s] choice between two fairly

             conflicting views” of the evidence before the agency. NLRB v.

             Grand Canyon Min. Co., 116 F.3d 1039, 1044 (4th Cir. 1997)

             (cleaned up).

                  There is likewise no merit to AT&T’s assertion that the

             Commission erred in finding that AT&T’s “‘consistent and

             predictable space on each pole’ provides” AT&T “a competitive

             advantage,” AT&T Br. 39 (quoting [Order ¶53]), because “AT&T’s

             competitors…also enjoy a consistent and predictable location on

             the pole.” AT&T Br. 39 (citing [Bureau Order ¶33 n.98]).



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                  AT&T misunderstands the agency’s findings. The Bureau

             found that AT&T’s and Duke’s “desire to avoid the physical damage

             that would result if facilities crisscrossed mid-span makes it

             unlikely that Duke would seek to change the position of future

             AT&T attachments.” [Bureau Order ¶33 n.98]. Thus, Duke had no

             incentive to make AT&T relocate to a higher position on its poles,

             and AT&T had no incentive to move.9 Indeed, the Bureau observed

             that AT&T “has never sought to abandon its right to the lowest

             position in the communications space”—even though it could

             request a higher position—which corroborated the Commission’s




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               The Bureau also noted that “AT&T concede[d] that consistency in
             placement of facilities allows all companies, including AT&T, to
             readily identify the ownership of particular attachments and
             avoids physical damage that would result if facilities crisscrossed
             mid-span. Thus, the record reflects that, unlike its competitors,
             AT&T’s position on the pole is by choice and that choice has
             benefited AT&T by providing a consistent and predictable space on
             each pole in a position of its choosing.” [Bureau Order ¶33]. Though
             it recognized that “consistency of placement” may benefit all
             attachers, generally speaking, AT&T Br. 36, the Bureau
             determined that AT&T is materially advantaged by the joint use
             agreement, because unlike other attachers on Duke’s poles, it is
             guaranteed consistent placement—in AT&T’s case, the lowest
             position on a pole. [Bureau Order ¶33].



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             determination that AT&T’s current location is advantageous.

             [Bureau Order ¶33, n.98] (cleaned up).

                  Finally, the Commission followed its policy of deciding ILEC

             pole attachment complaints on a case-by-case basis. AT&T

             contends that it did not, because in its view, the Commission’s

             analysis ended when it found the joint use agreement included the

             type of terms that may provide benefits to ILECs. AT&T Br. 40.

             But the Commission’s analysis went further. It considered the

             specific language of the terms in the agreement and the parties’

             performance under it. See, e.g., [Order ¶53] (observing that “[t]he

             record shows that the [joint use agreement] ensures AT&T’s right

             to occupy the bottom position of the poles and that AT&T never

             sought to abandon that right.”).

                        2. The Commission Determined that AT&T Was
                           Not Similarly Situated to Other Attachers on
                           Duke’s Poles Based on the Terms in the
                           Joint Use Agreement, Not “ILEC Traits”

                  AT&T contends that the comparative benefits identified by

             the Commission are the “very traits that constitute an ILEC.”

             AT&T Br. 18. AT&T’s argument rests on two allegedly “immutable

             characteristics of ILECs”: (1) AT&T “obtains ‘pole access’ by


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             contract rather than by statutory right of access” and (2) AT&T’s

             attachments are located at the bottom of a pole. AT&T Br. 27; see

             id. at 30. According to AT&T, defining those “traits” as “benefits”

             “precludes ILECs from ever qualifying for the new telecom rate”

             and “contravenes” the 2018 Order’s presumption that ILECs are

             comparable to cable providers and CLECs.

                  AT&T’s argument is meritless. “[E]ach of the[] benefits”

             identified by the Bureau and the Commission “[is] based on the

             express terms of the [joint use agreement]” that AT&T negotiated

             with Duke, “not on any ‘immutable’ traits of incumbent LECs.”

             [Order n.183]. For instance, “obtain[ing] access to poles pursuant to

             contract terms,” AT&T Br. 26, is not unique to ILECs. All entities

             that attach equipment to electric poles do so through some type of

             agreement with the utility. Even cable providers and CLECs, who

             have a statutory right to access utility poles (see 47 U.S.C.

             § 224(f)(1)), negotiate pole attachment agreements. 2011 Order, 26

             FCC Rcd at 5336, ¶ 217; 2018 Order, 33 FCC Rcd at 7768, ¶ 124.

                  What mattered to the Bureau (and later the Commission) was

             that the terms in AT&T’s joint use agreement with Duke provide it



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             five material advantages over other attachers on Duke’s poles (only

             two of which are what AT&T describes as ILEC “traits”). All of

             those benefits are afforded by contract terms that AT&T could

             renegotiate with Duke. For instance, AT&T could agree to a pole

             attachment rate that is based on the amount of space on a pole that

             it actually uses. [Order ¶50]. Or it could allow its attachments to be

             relocated to a different position on the pole. [Order ¶53]. Instead,

             AT&T seeks an entitlement to the New Telecom Rate while at the

             same time retaining its advantageous terms. That is akin to a

             passenger seated in first class demanding the basic economy fare,

             and it is not what the Commission intended. As the Commission

             has explained, “[j]ust as considerations of competitive neutrality

             counsel in favor of similar treatment of similarly situated

             providers, so too should differently situated providers be treated

             differently.” 2011 Order, 26 FCC Rcd at 5336-5337, ¶ 218; see 2018

             Order, 33 FCC Rcd at 7770-71, ¶¶ 127-128.

                  AT&T’s remaining arguments lack merit.

                  To start, AT&T is wrong that the Commission’s reliance on

             an “ILEC’s contractual access and its location on a pole” render the



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             presumption that “ILECs are comparable to their competitors…a

             nullity.” AT&T Br. 28. That presumption applies only to the eight

             months of AT&T’s complaint covered by the 2018 Order. The

             remainder is subject to review under the 2011 Order, which placed

             the burden on ILECs to rebut the presumption that they are not

             similarly situated to other attachers in order to pay comparable

             pole rates.10 2011 Order, 26 FCC Rcd at 5336, ¶ 217. See pp. 18, 21,

             24-25, 28, 77, above. In any event, the presumption is still

             available. AT&T just has to take pole access and pole location on

             similar terms as other attachers so that Duke cannot rebut the

             presumption and deny AT&T the New Telecom Rate.

                   Similarly, AT&T’s assertion that the Commission “intended

             most ILECs to pay the new telecom rate as of 2011,” is contradicted




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                 Quoting paragraph 208 of the 2011 Order, AT&T contends that
             the Commission “intended most ILECs to pay the new telecom rate
             as of 2011.” AT&T Br. 28. That paragraph only discussed the public
             interest benefits that could result if ILECs paid just and reasonable
             pole attachment rates under section 224(b)(1); it did not further
             find that ILECs should pay the New Telecom Rate. Indeed, AT&T’s
             statement is contradicted by paragraph 216 of the 2011 Order, 26
             FCC Rcd at 5335, where the Commission presumed that ILECs
             would rarely, if ever, be entitled to the New Telecom Rate.


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             by the Commission’s decisions. AT&T Br. 28. The Commission has

             consistently held that an ILEC can be denied the New Telecom

             Rate when the ILEC enjoys material advantages that are not

             provided to other attachers on the same pole, and that these

             advantages may include guaranteed space and a preferential

             location on the pole. 2011 Order, 26 FCC Rcd at 5337, ¶ 218; 2018

             Order, 33 FCC Rcd at 7771, ¶ 128; see id. at 7768, ¶ 124. In such a

             case, the ILEC pays the Old Telecom Rate, which “accounts for”

             those “net advantages.” 2011 Order, 26 FCC Rcd at 5337, ¶ 218.

                  If, as AT&T contends, ILECs must pay the New Telecom

             Rate—irrespective of their common or inherent advantages—the

             rebuttable presumption that ILECs are similarly situated to other

             attachers is transformed into an across-the-board determination

             that they are always similarly situated. That defies the

             Commission’s rulings in the 2011 Order and the 2018 Order, and

             would foreclose the opportunity the Commission’s rules grant to

             rebut the presumption. See 47 C.F.R. § 1.1413(b); 47 C.F.R.

             § 1.1424 (2011).




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                  Finally, AT&T’s assertion that the Commission has

             “crystalliz[ed] the competitive rate disparities that it has long

             sought to eliminate” wrongly presumes that ILECs should

             invariably pay the New Telecom Rate. AT&T Br. 29. As we have

             explained, the Commission has always provided that ILECs should

             pay the higher Old Telecom Rate when they are not similarly

             situated to other attachers on utility poles. See pp. 13-15, 17-18.

             The Bureau therefore did not “depart from [the Commission’s]

             established policy” in finding that AT&T should pay the Old

             Telecom Rate, given the advantageous terms that are contained in

             its joint use agreement with Duke. AT&T Br. 30.

                        3. The Commission Correctly Limited Its
                           Analysis to a Comparison of Terms in Pole
                           Attachment Agreements

                  The Commission properly upheld the Bureau’s analysis

             comparing the terms in AT&T’s joint use agreement to the terms in

             Duke’s pole attachment agreements with other attachers on its

             poles. The Commission’s regulations provide that “[a] utility can

             rebut” the presumption that an ILEC is entitled to the New

             Telecom Rate “with clear and convincing evidence that the [ILEC]



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             receives benefits under its pole attachment agreement…that

             materially advantage[]” the ILEC “over other telecommunications

             carriers or cable television systems providing telecommunications

             services on the same poles.” 47 C.F.R. § 1.1413(b) (emphasis

             added). The regulation does not mention the “statutory, regulatory,

             and contractual rights and benefits” of other attachers, AT&T Br.

             32; rather, the benefits that it identifies are those that an ILEC

             receives “under its pole attachment agreement.”

                  The Commission’s approach is reasonable. Because the

             regulation requires a utility to establish that an ILEC’s “pole

             attachment agreement with a utility” “materially advantages” the

             ILEC “over other” attachers “on the same poles,” the Commission

             has determined that other attachers’ agreements with utilities are

             the relevant point of comparison. That apples-to-apples (contract-

             to-contract) comparison fits more comfortably within the language

             of the rule than AT&T’s apples-to-oranges (contract-to-statutory

             and regulatory rights) alternative. The Commission has taken the

             same approach in other pole attachment complaint cases. Verizon

             Maryland Reconsideration Order, 2022 WL 990572, ¶¶ 6-8.



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                  Contrary to AT&T’s view, AT&T Br. 31-32, comparing

             agreement terms rather than statutory and regulatory rights also

             comports with Commission precedent. The Commission in the 2018

             Order held that a utility can rebut the presumption that an ILEC

             is entitled to the New Telecom Rate if it “can demonstrate that the

             [ILEC] receives significant material benefits beyond basic pole

             attachment or other rights given to another telecommunications

             attacher.” 2018 Order, 33 FCC Rcd at 7771, ¶ 128. Because the

             utility’s showing is based on “benefits beyond basic pole

             attachment,” neither the ILEC’s contractual right to pole access

             nor cable providers’ and CLECs’ statutory right to pole access are

             relevant points of comparison. Verizon Maryland Reconsideration

             Order, 2022 WL 990572, ¶ 7. The Commission also observed that

             “material benefits may include” rights-of-way obtained by the

             utility, guaranteed space on the pole, and preferential locations on

             the pole. 2018 Order, 33 FCC Rcd at 7771, ¶ 128; see id. at 7768,

             ¶ 124 (observing that “joint use agreements may provide benefits to

             [ILECs]…such as lower make ready costs, the right to attach

             without advance utility approval, and use of the rights-of-way



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             obtained by the utility.”). All of those benefits are provided by

             contract, not by statute or the Commission’s regulations. See

             Verizon Maryland Reconsideration Order, 2022 WL 990572, ¶ 8.

                  Nor was it arbitrary and capricious for the Commission to

             decline to consider the statutory and regulatory rights of cable

             providers and CLECs—specifically, their right to access poles

             under section 224(f)(1) of the Act, 47 U.S.C. § 224(f)(1). AT&T Br.

             26-27, 30, 33. As the Commission found, AT&T’s attachment rights

             under the joint use agreement are superior to cable providers’ and

             CLECs’ attachment right under section 224(f)(1). Thus, AT&T

             retains an advantage even taking the statutory access rights of

             cable operators and CLECs into account. [Order ¶¶48-49].

                  For all of these reasons, the Commission reasonably decided

             to only consider contract terms in assessing whether an ILEC is

             comparable to other attachers on the same utility pole.

                  B. The Commission Reasonably Permitted Duke
                     to Use the Actual “Number of Attaching
                     Entities” on Its Poles in Calculating the Old
                     Telecom Rate Paid by AT&T

                  The Commission reasonably upheld the Bureau’s

             determination that Duke could use the actual number of attachers


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             on its poles—rather than the presumptive number in the

             Commission’s rules—in calculating the Old Telecom Rate paid by

             AT&T. AT&T Br. 41-46; [Order ¶55].

                  Section 224(e)(2) of the Act provides that in establishing a

             telecommunications carrier’s pole attachment rate, “[a] utility shall

             apportion…two-thirds of the costs of providing” the unusable space

             on a pole “equal[ly]…among all…entities” with attachments on the

             pole. 47 U.S.C. § 224(e)(2).

                  The Commission in carrying out Congress’ directive has

             taken two different approaches. The Old Telecom Rate formula

             apportions two-thirds of the cost of the unusable space on a pole

             among all attachers on the pole. 47 C.F.R. § 1.1409(e)(2)(2011); see

             Ameren, 865 F.3d at 1011. Consequently, as the number of

             attachers increases, each attacher’s respective share of the cost of

             the unusable space decreases, and vice versa. See Implementation

             of Section 703(e) of the Telecommunications Act of 1996, 13 FCC

             Rcd 6777, 6800, ¶ 45 (1998). And the more cost allocated to an

             attacher, the higher its pole attachment rate. The Old Telecom

             Rate formula also allocates the cost of usable space based on the



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             fraction of the usable space that an attacher occupies on a pole. 47

             C.F.R. § 1.1409(e)(2)(2011).

                  The New Telecom Rate formula takes a different approach. It

             multiplies the cumulative cost of the usable and unusable space on

             a pole allocated to an attacher by a percentage that is determined

             by the average number of attachers on poles in a utility’s service

             area (e.g., 66 percent in service areas with an average of five

             attachers, 56 percent in areas with an average of four attachers,

             etc.). 47 C.F.R. § 1.1406(d); see Ameren, 865 F.3d at 1011-12. By

             employing those percentages, the New Telecom Rate formula

             calculates the same New Telecom Rate, regardless of the number of

             attachers on a pole.

                  The Commission reasonably permitted Duke to calculate the

             New Telecom Rate using the presumptive number of attachers in

             the Commission’s regulations rather than “expending time and

             money surveying its poles,” which “would have only a minimal, if

             any, effect on the rate.” [Order ¶55]. But the Commission further

             found that in making that choice, Duke did not forfeit its right to

             rebut that presumptive number in calculating the Old Telecom



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             Rate, where that input has a “significant effect.” [Order ¶55]. The

             Commission also noted that AT&T never “challenge[d] the

             reliability of the audit data Duke submitted.” [Order ¶55].

                  AT&T nonetheless contends that Duke must use the same

             presumptive number of attachers in calculating the Old and New

             Telecom Rates. AT&T Br. 41-46. Nothing in the Commission’s

             regulations or its precedent require that, however. See AT&T

             Florida II, 2022 WL 2104259, ¶ 21. AT&T’s assertion

             notwithstanding, AT&T Br. 46, neither the 2011 Order nor the

             2018 Order mentions the inputs to be used in calculating the Old

             Telecom Rate formula, let alone states that the Commission

             intended for utilities to apply the presumptive average number of

             attachers in the Commission’s rules.

                  AT&T also asserts that “the only way to derive pole

             attachment rates that equally apportion the cost of unusable space

             on a pole among all attachers is to use the same number of

             attaching entities input when calculating all of their rates.” AT&T

             Br. 42 (emphasis in original). AT&T, however, misunderstands how

             pole attachment rates are calculated. The “cost” apportioned by the



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             Old Telecom Rate formula is not the same as the “cost” apportioned

             by the New Telecom Rate formula, and by design, the number of

             attachers has a “significant effect” only in the former, but not the

             latter. [Order ¶ 55]; see Ameren, 865 F.3d at 1011-12.

             Consequently, in almost all cases, the cost of unusable space on a

             pole will not be equally apportioned between an attacher that pays

             the Old Telecom Rate and an attacher that pays the New Telecom

             Rate. Instead, the cost of the unusable space on a pole can only be

             equally apportioned among entities paying rates derived from the

             same rate formula.

                  By pointing out that the number of attachers on a pole only

             has a significant impact on the Old Telecom Rate, [Order ¶55], the

             Commission addressed AT&T’s contention that under the Act and

             the Commission’s regulations, Duke must use the same input for

             all attachers to the same pole. AT&T Br. 44. That difference occurs

             because formulas used to calculate the Old Telecom Rate and the

             New Telecom Rate allocate the unusable space on a pole unequally.

             Mountain Valley Pipeline LLC v. N. Carolina Dept. of Env’t

             Quality, 990 F.3d 818, 832 (4th Cir. 2021) (“[e]ven without direct



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             citations to State code,” the court could “reasonably discern from

             the Department’s language” that its decision relied on state law).

                  Nor is AT&T entitled to the same treatment as cable

             providers and CLECs with attachments on Duke’s poles. AT&T Br.

             45. AT&T pays the Old Telecom Rate because the Commission

             properly determined that it is not similarly situated to those

             entities. [Order ¶¶46-54].

                  In short, Duke had no reason to rebut the presumptive

             number of attachers in the Commission’s regulation in calculating

             the New Telecom Rate, because whether the average number of

             attachers is two, three, four, or five, the rate would be the same.

             But the actual average number of attachers made a difference in

             calculating the Old Telecom Rate to be paid by AT&T. The

             Commission reasonably permitted Duke to avail itself of the

             opportunity to rebut the Commission’s presumptions where it was

             in Duke’s economic interest to do so.




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                                          CONCLUSION

                  The court should dismiss and otherwise deny Duke’s petition

             for review. It should deny AT&T’s petition for review in its

             entirety.

                                                        Respectfully submitted,

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              I, Maureen K. Flood, hereby certify that on July 6, 2023, I filed the

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          Statutory and Regulatory Appendix




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                                    47 U.S.C. § 153


        For the purposes of this chapter, unless the context otherwise requires--


        ***
        (51) Telecommunications carrier
        The term “telecommunications carrier” means any provider of
        telecommunications services, except that such term does not include
        aggregators of telecommunications services (as defined in section 226 of
        this title). A telecommunications carrier shall be treated as a common
        carrier under this chapter only to the extent that it is engaged in
        providing telecommunications services, except that the Commission
        shall determine whether the provision of fixed and mobile satellite
        service shall be treated as common carriage.
        ***




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                                    47 U.S.C. § 224


        (a) Definitions

        As used in this section:


         (1) The term “utility” means any person who is a local exchange carrier
         or an electric, gas, water, steam, or other public utility, and who owns
         or controls poles, ducts, conduits, or rights-of-way used, in whole or in
         part, for any wire communications. Such term does not include any
         railroad, any person who is cooperatively organized, or any person
         owned by the Federal Government or any State.


         (2) The term “Federal Government” means the Government of the
         United States or any agency or instrumentality thereof.


         (3) The term “State” means any State, territory, or possession of the
         United States, the District of Columbia, or any political subdivision,
         agency, or instrumentality thereof.


         (4) The term “pole attachment” means any attachment by a cable
         television system or provider of telecommunications service to a pole,
         duct, conduit, or right-of-way owned or controlled by a utility.


         (5) For purposes of this section, the term “telecommunications carrier”
         (as defined in section 153 of this title) does not include any incumbent
         local exchange carrier as defined in section 251(h) of this title.


        (b) Authority of Commission to regulate rates, terms, and conditions;
        enforcement powers; promulgation of regulations


           (1) Subject to the provisions of subsection (c) of this section, the
           Commission shall regulate the rates, terms, and conditions for pole

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           attachments to provide that such rates, terms, and conditions are just
           and reasonable, and shall adopt procedures necessary and
           appropriate to hear and resolve complaints concerning such rates,
           terms, and conditions. For purposes of enforcing any determinations
           resulting from complaint procedures established pursuant to this
           subsection, the Commission shall take such action as it deems
           appropriate and necessary, including issuing cease and desist orders,
           as authorized by section 312(b) of this title.


           (2) The Commission shall prescribe by rule regulations to carry out
           the provisions of this section.


        (c) State regulatory authority over rates, terms, and conditions;
        preemption; certification; circumstances constituting State regulation


           (1) Nothing in this section shall be construed to apply to, or to give the
           Commission jurisdiction with respect to rates, terms, and conditions,
           or access to poles, ducts, conduits, and rights-of-way as provided in
           subsection (f), for pole attachments in any case where such matters
           are regulated by a State.


           (2) Each State which regulates the rates, terms, and conditions for
           pole attachments shall certify to the Commission that--


              (A) it regulates such rates, terms, and conditions; and


              (B) in so regulating such rates, terms, and conditions, the State has
              the authority to consider and does consider the interests of the
              subscribers of the services offered via such attachments, as well as
              the interests of the consumers of the utility services.


           (3) For purposes of this subsection, a State shall not be considered to
           regulate the rates, terms, and conditions for pole attachments--


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              (A) unless the State has issued and made effective rules and
              regulations implementing the State’s regulatory authority over pole
              attachments; and


              (B) with respect to any individual matter, unless the State takes
              final action on a complaint regarding such matter--


                (i) within 180 days after the complaint is filed with the State, or


                (ii) within the applicable period prescribed for such final action
                in such rules and regulations of the State, if the prescribed
                period does not extend beyond 360 days after the filing of such
                complaint.


        (d) Determination of just and reasonable rates; “usable space” defined


           (1) For purposes of subsection (b) of this section, a rate is just and
           reasonable if it assures a utility the recovery of not less than the
           additional costs of providing pole attachments, nor more than an
           amount determined by multiplying the percentage of the total usable
           space, or the percentage of the total duct or conduit capacity, which is
           occupied by the pole attachment by the sum of the operating expenses
           and actual capital costs of the utility attributable to the entire pole,
           duct, conduit, or right-of-way.


           (2) As used in this subsection, the term “usable space” means the space
           above the minimum grade level which can be used for the attachment
           of wires, cables, and associated equipment.


           (3) This subsection shall apply to the rate for any pole attachment
           used by a cable television system solely to provide cable service. Until
           the effective date of the regulations required under subsection (e), this
           subsection shall also apply to the rate for any pole attachment used
           by a cable system or any telecommunications carrier (to the extent

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           such carrier is not a party to a pole attachment agreement) to provide
           any telecommunications service.


        (e) Regulations governing charges; apportionment of costs of providing
        space


           (1) The Commission shall, no later than 2 years after February 8,
           1996, prescribe regulations in accordance with this subsection to
           govern the charges for pole attachments used by telecommunications
           carriers to provide telecommunications services, when the parties fail
           to resolve a dispute over such charges. Such regulations shall ensure
           that a utility charges just, reasonable, and nondiscriminatory rates
           for pole attachments.


           (2) A utility shall apportion the cost of providing space on a pole, duct,
           conduit, or right-of-way other than the usable space among entities so
           that such apportionment equals two-thirds of the costs of providing
           space other than the usable space that would be allocated to such
           entity under an equal apportionment of such costs among all
           attaching entities.


           (3) A utility shall apportion the cost of providing usable space among
           all entities according to the percentage of usable space required for
           each entity.


           (4) The regulations required under paragraph (1) shall become
           effective 5 years after February 8, 1996. Any increase in the rates for
           pole attachments that result from the adoption of the regulations
           required by this subsection shall be phased in equal annual
           increments over a period of 5 years beginning on the effective date of
           such regulations.




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        (f) Nondiscriminatory access


           (1) A utility shall provide a cable television system or any
           telecommunications carrier with nondiscriminatory access to any
           pole, duct, conduit, or right-of-way owned or controlled by it.

           (2) Notwithstanding paragraph (1), a utility providing electric service
           may deny a cable television system or any telecommunications carrier
           access to its poles, ducts, conduits, or rights-of-way, on a non-
           discriminatory1 basis where there is insufficient capacity and for
           reasons of safety, reliability and generally applicable engineering
           purposes.

        (g) Imputation to costs of pole attachment rate

        A utility that engages in the provision of telecommunications services or
        cable services shall impute to its costs of providing such services (and
        charge any affiliate, subsidiary, or associate company engaged in the
        provision of such services) an equal amount to the pole attachment rate
        for which such company would be liable under this section.

        (h) Modification or alteration of pole, duct, conduit, or right-of-way

        Whenever the owner of a pole, duct, conduit, or right-of-way intends to
        modify or alter such pole, duct, conduit, or right-of-way, the owner shall
        provide written notification of such action to any entity that has obtained
        an attachment to such conduit or right-of-way so that such entity may
        have a reasonable opportunity to add to or modify its existing
        attachment. Any entity that adds to or modifies its existing attachment
        after receiving such notification shall bear a proportionate share of the
        costs incurred by the owner in making such pole, duct, conduit, or right-
        of-way accessible.

        (i) Costs of rearranging or replacing attachment

        An entity that obtains an attachment to a pole, conduit, or right-of-way

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        shall not be required to bear any of the costs of rearranging or replacing
        its attachment, if such rearrangement or replacement is required as a
        result of an additional attachment or the modification of an existing
        attachment sought by any other entity (including the owner of such pole,
        duct, conduit, or right-of-way).




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                                    47 U.S.C. § 251


        ***
        (h) “Incumbent local exchange carrier” defined


         (1) Definition

         For purposes of this section, the term “incumbent local exchange
         carrier” means, with respect to an area, the local exchange carrier
         that—


           (A) on February 8, 1996, provided telephone exchange service in such
           area; and


           (B)(i) on February 8, 1996, was deemed to be a member of the
           exchange carrier association pursuant to section 69.601(b) of the
           Commission’s regulations (47 C.F.R. 69.601(b)); or


           (ii) is a person or entity that, on or after February 8, 1996, became a
           successor or assign of a member described in clause (i).
        ***




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                                      47 U.S.C. § 405


        (a) After an order, decision, report, or action has been made or taken in
        any proceeding by the Commission, or by any designated authority
        within the Commission pursuant to a delegation under section 155(c)(1)
        of this title, any party thereto, or any other person aggrieved or whose
        interests are adversely affected thereby, may petition for reconsideration
        only to the authority making or taking the order, decision, report, or
        action; and it shall be lawful for such authority, whether it be the
        Commission or other authority designated under section 155(c)(1) of this
        title, in its discretion, to grant such a reconsideration if sufficient reason
        therefor be made to appear. A petition for reconsideration must be filed
        within thirty days from the date upon which public notice is given of the
        order, decision, report, or action complained of. No such application shall
        excuse any person from complying with or obeying any order, decision,
        report, or action of the Commission, or operate in any manner to stay or
        postpone the enforcement thereof, without the special order of the
        Commission. The filing of a petition for reconsideration shall not be a
        condition precedent to judicial review of any such order, decision, report,
        or action, except where the party seeking such review (1) was not a party
        to the proceedings resulting in such order, decision, report, or action, or
        (2) relies on questions of fact or law upon which the Commission, or
        designated authority within the Commission, has been afforded no
        opportunity to pass. The Commission, or designated authority within the
        Commission, shall enter an order, with a concise statement of the reasons
        therefor, denying a petition for reconsideration or granting such petition,
        in whole or in part, and ordering such further proceedings as may be
        appropriate: Provided, That in any case where such petition relates to an
        instrument of authorization granted without a hearing, the Commission,
        or designated authority within the Commission, shall take such action
        within ninety days of the filing of such petition. Reconsiderations shall
        be governed by such general rules as the Commission may establish,
        except that no evidence other than newly discovered evidence, evidence
        which has become available only since the original taking of evidence, or
        evidence which the Commission or designated authority within the
        Commission believes should have been taken in the original proceeding
        shall be taken on any reconsideration. The time within which a petition

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        for review must be filed in a proceeding to which section 402(a) of this
        title applies, or within which an appeal must be taken under section
        402(b) of this title in any case, shall be computed from the date upon
        which the Commission gives public notice of the order, decision, report,
        or action complained of.

        (b)(1) Within 90 days after receiving a petition for reconsideration of an
        order concluding a hearing under section 204(a) of this title or concluding
        an investigation under section 208(b) of this title, the Commission shall
        issue an order granting or denying such petition.


        (2) Any order issued under paragraph (1) shall be a final order and may
        be appealed under section 402(a) of this title.




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                                    47 C.F.R. § 1.115


        (a) Any person aggrieved by any action taken pursuant to delegated
        authority may file an application requesting review of that action by the
        Commission. Any person filing an application for review who has not
        previously participated in the proceeding shall include with his
        application a statement describing with particularity the manner in
        which he is aggrieved by the action taken and showing good reason why
        it was not possible for him to participate in the earlier stages of the
        proceeding. Any application for review which fails to make an adequate
        showing in this respect will be dismissed.


        (b)(1) The application for review shall concisely and plainly state the
        questions presented for review with reference, where appropriate, to the
        findings of fact or conclusions of law.


           (2) The application for review shall specify with particularity, from
           among the following, the factor(s) which warrant Commission
           consideration of the questions presented:


              (i) The action taken pursuant to delegated authority is in conflict
              with statute, regulation, case precedent, or established Commission
              policy.


              (ii) The action involves a question of law or policy which has not
              previously been resolved by the Commission.


              (iii) The action involves application of a precedent or policy which
              should be overturned or revised.


              (iv) An erroneous finding as to an important or material question of
              fact.



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              (v) Prejudicial procedural error.


           (3) The application for review shall state with particularity the
           respects in which the action taken by the designated authority should
           be changed.


           (4) The application for review shall state the form of relief sought and,
           subject to this requirement, may contain alternative requests.


        (c) No application for review will be granted if it relies on questions of
        fact or law upon which the designated authority has been afforded no
        opportunity to pass.


        Note: Subject to the requirements of § 1.106, new questions of fact or law
        may be presented to the designated authority in a petition for
        reconsideration.


        (d) Except as provided in paragraph (e) of this section and in § 0.461(j) of
        this chapter, the application for review and any supplemental thereto
        shall be filed within 30 days of public notice of such action, as that date
        is defined in § 1.4(b). Opposition to the application shall be filed within
        15 days after the application for review is filed. Except as provided in
        paragraph (e)(1) of this section, replies to oppositions shall be filed within
        10 days after the opposition is filed and shall be limited to matters raised
        in the opposition.


        (e)(1) Applications for review of an order designating a matter for hearing
        that was issued under delegated authority shall be deferred until
        exceptions to the initial decision in the case are filed, unless the presiding
        officer certifies such an application for review to the Commission. A
        matter shall be certified to the Commission if the presiding officer
        determines that the matter involves a controlling question of law as to
        which there is substantial ground for difference of opinion and that
        immediate consideration of the question would materially expedite the

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        ultimate resolution of the litigation. A request to certify a matter to the
        Commission shall be filed with the presiding officer within 5 days after
        the designation order is released. A ruling refusing to certify a matter to
        the Commission is not appealable. Any application for review authorized
        by the presiding officer shall be filed within 5 days after the order
        certifying the matter to the Commission is released or such a ruling is
        made. Oppositions shall be filed within 5 days after the application for
        review is filed. Replies to oppositions shall be filed only if they are
        requested by the Commission. Replies (if allowed) shall be filed within 5
        days after they are requested. The Commission may dismiss, without
        stating reasons, an application for review that has been certified, and
        direct that the objections to the order designating the matter for hearing
        be deferred and raised when exceptions in the initial decision in the case
        are filed.


           (2) Applications for review of final staff decisions issued on delegated
           authority in formal complaint proceedings on the Enforcement
           Bureau’s Accelerated Docket (see, e.g., § 1.730) shall be filed within
           15 days of public notice of the decision, as that date is defined in §
           1.4(b). These applications for review oppositions and replies in
           Accelerated Docket proceedings shall be served on parties to the
           proceeding by hand or facsimile transmission.


        (f) Applications for review, oppositions, and replies shall conform to the
        requirements of §§ 1.49, 1.51, and 1.52, and shall be submitted to the
        Secretary, Federal Communications Commission, Washington, DC
        20554. Except as provided below, applications for review and oppositions
        thereto shall not exceed 25 double-space typewritten pages. Applications
        for review of interlocutory actions in hearing proceedings (including
        designation orders) and oppositions thereto shall not exceed 5 double-
        spaced typewritten pages. When permitted (see paragraph (e)(1) of this
        section), reply pleadings shall not exceed 5 double-spaced typewritten
        pages. The application for review shall be served upon the parties to the
        proceeding. Oppositions to the application for review shall be served on
        the person seeking review and on parties to the proceeding. When
        permitted (see paragraph (e)(1) of this section), replies to the
        opposition(s) to the application for review shall be served on the person(s)

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        opposing the application for review and on parties to the proceeding.
        (g) The Commission may grant the application for review in whole or in
        part, or it may deny the application with or without specifying reasons
        therefor. A petition requesting reconsideration of a ruling which denies
        an application for review will be entertained only if one or more of the
        following circumstances is present:


           (1) The petition relies on facts which related to events which have
           occurred or circumstances which have changed since the last
           opportunity to present such matters; or


           (2) The petition relies on facts unknown to petitioner until after his
           last opportunity to present such matters which could not, through the
           exercise of ordinary diligence, have been learned prior to such
           opportunity.


        (h)(1) If the Commission grants the application for review in whole or in
        part, it may, in its decision:


              (i) Simultaneously reverse or modify the order from which review is
              sought;


              (ii) Remand the matter to the designated authority for
              reconsideration in accordance with its instructions, and, if an
              evidentiary hearing has been held, the remand may be to the
              person(s) who conducted the hearing; or


              (iii) Order such other proceedings, including briefs and oral
              argument, as may be necessary or appropriate.


           (2) In the event the Commission orders further proceedings, it may
           stay the effect of the order from which review is sought. (See § 1.102.)
           Following the completion of such further proceedings the Commission

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           may affirm, reverse or modify the order from which review is sought,
           or it may set aside the order and remand the matter to the designated
           authority for reconsideration in accordance with its instructions. If an
           evidentiary hearing has been held, the Commission may remand the
           matter to the person(s) who conducted the hearing for rehearing on
           such issues and in accordance with such instructions as may be
           appropriate.


        Note: For purposes of this section, the word “order” refers to that portion
        of its action wherein the Commission announces its judgment. This
        should be distinguished from the “memorandum opinion” or other
        material which often accompany and explain the order.


        (i) An order of the Commission which reverses or modifies the action
        taken pursuant to delegated authority is subject to the same provisions
        with respect to reconsideration as an original order of the Commission.
        In no event, however, shall a ruling which denies an application for
        review be considered a modification of the action taken pursuant to
        delegated authority.


        (j) No evidence other than newly discovered evidence, evidence which has
        become available only since the original taking of evidence, or evidence
        which the Commission believes should have been taken in the original
        proceeding shall be taken on any rehearing ordered pursuant to the
        provisions of this section.


        (k) The filing of an application for review shall be a condition precedent
        to judicial review of any action taken pursuant to delegated authority.




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                                    47 C.F.R. § 1.1402


        (a) The term utility means any person that is a local exchange carrier or
        an electric, gas, water, steam, or other public utility, and who owns or
        controls poles, ducts, conduits, or rights-of-way used, in whole or in part,
        for any wire communications. Such term does not include any railroad,
        any person that is cooperatively organized, or any person owned by the
        Federal Government or any State.


        (b) The term pole attachment means any attachment by a cable television
        system or provider of telecommunications service to a pole, duct, conduit,
        or right-of-way owned or controlled by a utility.


        (c) With respect to poles, the term usable space means the space on a
        utility pole above the minimum grade level which can be used for the
        attachment of wires, cables, and associated equipment, and which
        includes space occupied by the utility. With respect to conduit, the term
        usable space means capacity within a conduit system which is available,
        or which could, with reasonable effort and expense, be made available,
        for the purpose of installing wires, cable and associated equipment for
        telecommunications or cable services, and which includes capacity
        occupied by the utility.


        (d) The term complaint means a filing by a cable television system
        operator, a cable television system association, a utility, an association of
        utilities, a telecommunications carrier, or an association of
        telecommunications carriers alleging that it has been denied access to a
        utility pole, duct, conduit, or right-of-way in violation of this subpart
        and/or that a rate, term, or condition for a pole attachment is not just and
        reasonable. It also means a filing by an incumbent local exchange carrier
        (as defined in 47 U.S.C. 251(h)) or an association of incumbent local
        exchange carriers alleging that a rate, term, or condition for a pole
        attachment is not just and reasonable.


        (e) The term complainant means a cable television system operator, a

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        cable television system association, a utility, an association of utilities, a
        telecommunications carrier, an association of telecommunications
        carriers, an incumbent local exchange carrier (as defined in 47 U.S.C.
        251(h)) or an association of incumbent local exchange carriers who files a
        complaint.


        (f) The term defendant means a cable television system operator, a
        utility, or a telecommunications carrier against whom a complaint is
        filed.


        (g) The term State means any State, territory, or possession of the United
        States, the District of Columbia, or any political subdivision, agency, or
        instrumentality thereof.


        (h) For purposes of this subpart, the term telecommunications carrier
        means any provider of telecommunications services, except that the term
        does not include aggregators of telecommunications services (as defined
        in 47 U.S.C. 226) or incumbent local exchange carriers (as defined in 47
        U.S.C. 251(h)).


        (i) The term conduit means a structure containing one or more ducts,
        usually placed in the ground, in which cables or wires may be installed.


        (j) The term conduit system means a collection of one or more conduits
        together with their supporting infrastructure.


        (k) The term duct means a single enclosed raceway for conductors, cable
        and/or wire.


        (l) With respect to poles, the term unusable space means the space on a
        utility pole below the usable space, including the amount required to set
        the depth of the pole.



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        (m) The term attaching entity includes cable system operators,
        telecommunications carriers, incumbent and other local exchange
        carriers, utilities, governmental entities and other entities with a
        physical attachment to the pole, duct, conduit or right of way. It does not
        include governmental entities with only seasonal attachments to the
        pole.


        (n) The term inner-duct means a duct-like raceway smaller than a duct
        that is inserted into a duct so that the duct may carry multiple wires or
        cables.


        (o) The term make-ready means the modification or replacement of a
        utility pole, or of the lines or equipment on the utility pole, to
        accommodate additional facilities on the utility pole.


        (p) The term complex make-ready means transfers and work within the
        communications space that would be reasonably likely to cause a service
        outage(s) or facility damage, including work such as splicing of any
        communication attachment or relocation of existing wireless
        attachments. Any and all wireless activities, including those involving
        mobile, fixed, and point-to-point wireless communications and wireless
        internet service providers, are to be considered complex.


        (q) The term simple make-ready means make-ready where existing
        attachments in the communications space of a pole could be transferred
        without any reasonable expectation of a service outage or facility damage
        and does not require splicing of any existing communication attachment
        or relocation of an existing wireless attachment.


        (r) The term communications space means the lower usable space on a
        utility pole, which typically is reserved for low-voltage communications
        equipment.




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                                    47 C.F.R. § 1.1406


        (a) The complainant shall have the burden of establishing a prima facie
        case that the rate, term, or condition is not just and reasonable or that
        the denial of access violates 47 U.S.C. 224(f). If, however, a utility argues
        that the proposed rate is lower than its incremental costs, the utility has
        the burden of establishing that such rate is below the statutory minimum
        just and reasonable rate. In a case involving a denial of access, the utility
        shall have the burden of proving that the denial was lawful, once a prima
        facie case is established by the complainant.


        (b) The Commission shall determine whether the rate, term or condition
        complained of is just and reasonable. For the purposes of this paragraph,
        a rate is just and reasonable if it assures a utility the recovery of not less
        than the additional costs of providing pole attachments, nor more than
        an amount determined by multiplying the percentage of the total usable
        space, or the percentage of the total duct or conduit capacity, which is
        occupied by the pole attachment by the sum of the operating expenses
        and actual capital costs of the utility attributable to the entire pole, duct,
        conduit, or right-of-way. The Commission shall exclude from actual
        capital costs those reimbursements received by the utility from cable
        operators and telecommunications carriers for non-recurring costs.


        (c) The Commission shall deny the complaint if it determines that the
        complainant has not established a prima facie case, or that the rate, term
        or condition is just and reasonable, or that the denial of access was lawful.


        (d) The Commission will apply the following formulas for determining a
        maximum just and reasonable rate:


           (1) The following formula shall apply to attachments to poles by cable
           operators providing cable services. This formula shall also apply to
           attachments to poles by any telecommunications carrier (to the extent
           such carrier is not a party to a pole attachment agreement) or cable
           operator providing telecommunications services until February 8,

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           2001:




           (2) With respect to attachments to poles by any telecommunications
           carrier or cable operator providing telecommunications services, the
           maximum just and reasonable rate shall be the higher of the rate
           yielded by paragraphs (d)(2)(i) or (d)(2)(ii) of this section.


              (i) The following formula applies to the extent that it yields a rate
              higher than that yielded by the applicable formula in paragraph
              (d)(2)(ii) of this section:

         Rate = Space Factor x Cost

         Where Cost

         in Service Areas where the number of Attaching Entities is 5 = 0.66 x
         (Net Cost of a Bare Pole x Carrying Charge Rate)

         in Service Areas where the number of Attaching Entities is 4 = 0.56 x
         (Net Cost of a Bare Pole x Carrying Charge Rate)

         in Service Areas where the number of Attaching Entities is 3 = 0.44 x
         (Net Cost of a Bare Pole x Carrying Charge Rate)



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         in Service Areas where the number of Attaching Entities is 2 = 0.31 x
         (Net Cost of a Bare Pole x Carrying Charge Rate)


         in Service Areas where the number of Attaching Entities is not a whole
         number = N x (Net Cost of a Bare Pole x Carrying Charge Rate), where
         N is interpolated from the cost allocator associated with the nearest
         whole numbers above and below the number of Attaching Entities.




              (ii) The following formula applies to the extent that it yields a rate
              higher than that yielded by the applicable formula in paragraph
              (d)(2)(i) of this section:




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           (3) The following formula shall apply to attachments to conduit by
           cable operators and telecommunications carriers:




           simplified as:




           (4) If no inner-duct is installed the fraction, “1 Duct divided by the No.
           of Inner–Ducts” is presumed to be ½.


        (e) A price cap company, or a rate-of-return carrier electing to provide
        service pursuant to § 61.50 of this chapter, that opts-out of part 32 of this
        chapter may calculate attachment rates for its poles, ducts, conduits, and
        rights of way using either part 32 accounting data or GAAP accounting
        data. A company using GAAP accounting data to compute rates to attach
        to its poles, ducts, conduits, and rights of way in any of the first twelve
        years after opting-out must adjust (increase or decrease) its annually
        computed GAAP–based rates by an Implementation Rate Difference for
        each of the remaining years in the period. The Implementation Rate
        Difference means the difference between attachment rates calculated by
        the carrier under part 32 and under GAAP as of the last full year
        preceding the carrier’s initial opting-out of part 32 USOA accounting
        requirements.




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                                  47 C.F.R. § 1.1407


        (a) If the Commission determines that the rate, term, or condition
        complained of is not just and reasonable, it may prescribe a just and
        reasonable rate, term, or condition and may:


           (1) Terminate the unjust and/or unreasonable rate, term, or condition;


           (2) Substitute in the pole attachment agreement the just and
           reasonable rate, term, or condition established by the Commission;
           and/or


           (3) Order a refund, or payment, if appropriate. The refund or payment
           will normally be the difference between the amount paid under the
           unjust and/or unreasonable rate, term, or condition and the amount
           that would have been paid under the rate, term, or condition
           established by the Commission, plus interest, consistent with the
           applicable statute of limitations.


        (b) If the Commission determines that access to a pole, duct, conduit, or
        right-of-way has been unlawfully denied or delayed, it may order that
        access be permitted within a specified time frame and in accordance with
        specified rates, terms, and conditions.




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                              47 C.F.R. § 1.1409 (Current)


        (a) With respect to the formula referenced in § 1.1406(d)(2), a utility shall
        apportion the cost of providing unusable space on a pole so that such
        apportionment equals two-thirds of the costs of providing unusable space
        that would be allocated to such entity under an equal apportionment of
        such costs among all attaching entities.


        (b) All attaching entities attached to the pole shall be counted for
        purposes of apportioning the cost of unusable space.


        (c) Utilities may use the following rebuttable presumptive averages when
        calculating the number of attaching entities with respect to the formula
        referenced in § 1.1406(d)(2). For non-urbanized service areas (under
        50,000 population), a presumptive average number of attaching entities
        of three. For urbanized service areas (50,000 or higher population), a
        presumptive average number of attaching entities of five. If any part of
        the utility’s service area within the state has a designation of urbanized
        (50,000 or higher population) by the Bureau of Census, United States
        Department of Commerce, then all of that service area shall be
        designated as urbanized for purposes of determining the presumptive
        average number of attaching entities.


        (d) A utility may establish its own presumptive average number of
        attaching entities for its urbanized and non-urbanized service area as
        follows:


           (1) Each utility shall, upon request, provide all attaching entities and
           all entities seeking access the methodology and information upon
           which the utilities presumptive average number of attachers is based.


           (2) Each utility is required to exercise good faith in establishing and
           updating its presumptive average number of attachers.


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           (3) The presumptive average number of attachers may be challenged
           by an attaching entity by submitting information demonstrating why
           the utility’s presumptive average is incorrect. The attaching entity
           should also submit what it believes should be the presumptive average
           and the methodology used. Where a complete inspection is
           impractical, a statistically sound survey may be submitted.


           (4) Upon successful challenge of the existing presumptive average
           number of attachers, the resulting data determined shall be used by
           the utility as the presumptive number of attachers within the rate
           formula.




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                                  47 C.F.R. § 1.1409 (2011)


        (a) In its consideration of the complaint, response, and reply, the
        Commission may take notice of any information contained in publicly
        available filings made by the parties and may accept, subject to rebuttal,
        studies that have been conducted. The Commission may also request that
        one or more of the parties make additional filings or provide additional
        information. Where one of the parties has failed to provide information
        required to be provided by these rules or requested by the Commission,
        or where costs, values or amounts are disputed, the Commission may
        estimate such costs, values or amounts it considers reasonable, or may
        decide adversely to a party who has failed to supply requested
        information which is readily available to it, or both.


        (b) The complainant shall have the burden of establishing a prima facie
        case that the rate, term, or condition is not just and reasonable or that
        the denial of access violates 47 U.S.C. § 224(f). If, however, a utility
        argues that the proposed rate is lower than its incremental costs, the
        utility has the burden of establishing that such rate is below the
        statutory minimum just and reasonable rate. In a case involving a denial
        of access, the utility shall have the burden of proving that the denial was
        lawful, once a prima facie case is established by the complainant.


        (c) The Commission shall determine whether the rate, term or condition
        complained of is just and reasonable. For the purposes of this paragraph,
        a rate is just and reasonable if it assures a utility the recovery of not less
        than the additional costs of providing pole attachments, nor more than
        an amount determined by multiplying the percentage of the total usable
        space, or the percentage of the total duct or conduit capacity, which is
        occupied by the pole attachment by the sum of the operating expenses
        and actual capital costs of the utility attributable to the entire pole, duct,
        conduit, or right-of-way.


        (d) The Commission shall deny the complaint if it determines that the
        complainant has not established a prima facie case, or that the rate, term
        or condition is just and reasonable, or that the denial of access was lawful.
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        (e) When parties fail to resolve a dispute regarding charges for pole
        attachments and the Commission’s complaint procedures under Section
        1.1404 are invoked, the Commission will apply the following formulas for
        determining a maximum just and reasonable rate:


           (1) The following formula shall apply to attachments to poles by cable
           operators providing cable services. This formula shall also apply to
           attachments to poles by any telecommunications carrier (to the extent
           such carrier is not a party to a pole attachment agreement) or cable
           operator providing telecommunications services until February 8,
           2001:




           (2) Subject to paragraph (f) of this section the following formula shall
           apply to attachments to poles by any telecommunications carrier (to
           the extent such carrier is not a party to a pole attachment
           agreement) or cable operator providing telecommunications services
           beginning February 8, 2001:




           (2) With respect to attachments to poles by any telecommunications
           carrier or cable operator providing telecommunications services, the
           maximum just and reasonable rate shall be the higher of the rate
           yielded by paragraphs (e)(2)(i) or (e)(2)(ii) of this section.
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              (i) The following formula applies to the extent that it yields a rate
              higher than that yielded by the applicable formula in paragraph
              1.1409(e)(2)(ii) of this section:

         Rate = Space Factor x Cost

         Where Cost

         in Urbanized Service Areas = 0.66 x (Net Cost of a Bare Pole x Carrying
         Charge Rate)

         in Non–Urbanized Service Areas = 0.44 x (Net Cost of a Bare Pole x
         Carrying Charge Rate).




              (ii) The following formula applies to the extent that it yields a rate
              higher than that yielded by the applicable formula in paragraph
              1.1409(e)(2)(i) of this section:




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           (3) The following formula shall apply to attachments to conduit by
           cable operators and telecommunications carriers:




           simplified as:




           If no inner-duct is installed the fraction, “1 Duct divided by the No. of
           Inner–Ducts” is presumed to be ½.


        (f) Paragraph (e)(2) of this section shall become effective February 8, 2001
        (i.e., five years after the effective date of the Telecommunications Act of
        1996). Any increase in the rates for pole attachments that results from
        the adoption of such regulations shall be phased in over a period of five
        years beginning on the effective date of such regulations in equal annual
        increments. The five-year phase-in is to apply to rate increases only. Rate
        reductions are to be implemented immediately. The determination of any
        rate increase shall be based on data currently available at the time of the
        calculation of the rate increase.




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                              47 C.F.R. § 1.1410 (Current)


        With respect to the formulas referenced in § 1.1406(d)(1) and (d)(2), the
        space occupied by an attachment is presumed to be one foot. The amount
        of usable space is presumed to be 13.5 feet. The amount of unusable space
        is presumed to be 24 feet. The pole height is presumed to be 37.5 feet.
        These presumptions may be rebutted by either party.




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                                  47 C.F.R. § 1.1410 (2011)


        If the Commission determines that the rate, term, or condition
        complained of is not just and reasonable, it may prescribe a just and
        reasonable rate, term, or condition and may:


        (a) If the Commission determines that the rate, term, or condition
        complained of is not just and reasonable, it may prescribe a just and
        reasonable rate, term, or condition and may:


           (1) Terminate the unjust and/or unreasonable rate, term, or condition;


           (2) Substitute in the pole attachment agreement the just and
           reasonable rate, term, or condition established by the Commission;


           (3) Order a refund, or payment, if appropriate. The refund or payment
           will normally be the difference between the amount paid under the
           unjust and/or unreasonable rate, term, or condition and the amount
           that would have been paid under the rate, term, or condition
           established by the Commission, plus interest, consistent with the
           applicable statute of limitations; and


        (b) If the Commission determines that access to a pole, duct, conduit, or
        right-of-way has been unlawfully denied or delayed, it may order that
        access be permitted within a specified time frame and in accordance with
        specified rates, terms, and conditions.


        (c) Order a refund, or payment, if appropriate. The refund or payment
        will normally be the difference between the amount paid under the unjust
        and/or unreasonable rate, term, or condition and the amount that would
        have been paid under the rate, term, or condition established by the
        Commission from the date that the complaint, as acceptable, was filed,
        plus interest.


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                                   47 C.F.R. § 1.1413


        (a) A complaint by an incumbent local exchange carrier (as defined in 47
        U.S.C. 251(h)) or an association of incumbent local exchange carriers
        alleging that it has been denied access to a pole, duct, conduit, or right-
        of-way owned or controlled by a local exchange carrier or that a utility’s
        rate, term, or condition for a pole attachment is not just and reasonable
        shall follow the same complaint procedures specified for other pole
        attachment complaints in this part.


        (b) In complaint proceedings challenging utility pole attachment rates,
        terms, and conditions for pole attachment contracts entered into or
        renewed after the effective date of this section, there is a presumption
        that an incumbent local exchange carrier (or an association of incumbent
        local exchange carriers) is similarly situated to an attacher that is a
        telecommunications carrier (as defined in 47 U.S.C. 251(a)(5)) or a cable
        television system providing telecommunications services for purposes of
        obtaining comparable rates, terms, or conditions. In such complaint
        proceedings challenging pole attachment rates, there is a presumption
        that incumbent local exchange carriers (or an association of incumbent
        local exchange carriers) may be charged no higher than the rate
        determined in accordance with § 1.1406(d)(2). A utility can rebut either
        or both of the two presumptions in this paragraph (b) with clear and
        convincing evidence that the incumbent local exchange carrier receives
        benefits under its pole attachment agreement with a utility that
        materially advantages the incumbent local exchange carrier over other
        telecommunications carriers or cable television systems providing
        telecommunications services on the same poles.




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                                  47 C.F.R. § 1.1424 (2011)


        Complaints by an incumbent local exchange carrier (as defined in 47
        U.S.C. 251(h)) or an association of incumbent local exchange carriers
        alleging that a rate, term, or condition for a pole attachment is not just
        and reasonable shall follow the same complaint procedures specified for
        other pole attachment complaints in this Part, as relevant. In complaint
        proceedings where an incumbent local exchange carrier (or an
        association of incumbent local exchange carriers) claims that it is
        similarly situated to an attacher that is a telecommunications carrier
        (as defined in 47 U.S.C. 251(a)(5)) or a cable television system for
        purposes of obtaining comparable rates, terms or conditions, the
        incumbent local exchange carrier shall bear the burden of
        demonstrating that it is similarly situated by reference to any relevant
        evidence, including pole attachment agreements. If a respondent
        declines or refuses to provide a complainant with access to agreements
        or other information upon reasonable request, the complainant may
        seek to obtain such access through discovery. Confidential information
        contained in any documents produced may be subject to the terms of an
        appropriate protective order.




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